                                                                                                Case 1-05-33052-cec                       Doc 1           Filed 10/14/05              Entered 10/14/05 21:30:28

                                                                             (Official Form 1) (12/03)
                                                                              FORM B1                            United States Bankruptcy Court
                                                                                                              EASTERN DISTRICT OF NEW YORK                                                                        Voluntary Petition

                                                                             Name of Debtor (if individual, enter Last, First, Middle):                             Name of Joint Debtor (Spouse) (Last, First, Middle):
                                                                              MATTHEWS, HECTOR
                                                                             All Other Names used by the Debtor in the last 6 years                                 All Other Names used by the Joint Debtor in the last 6 years
                                                                             (include married, maiden, and trade names):                                            (include married, maiden, and trade names):
                                                                               aka HECTOR R. MATTHEWS, HECTOR ROMAN
                                                                               MATTHEWS, DBA THE SPORTS SPECTRUM
                                                                             Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No. Last four digits of Soc.Sec.No./Complete EIN or other Tax ID No.
                                                                             (if more than one, state all): 2993                              (if more than one, state all):
                                                                             Street Address of Debtor (No. & Street, City, State & Zip Code):                       Street Address of Joint Debtor (No. & Street, City, State & Zip Code):
                                                                              216 WAKEMAN PLACE
                                                                              BROOKLYN, NY 11220


                                                                             County of Residence or of the                                                          County of Residence or of the
                                                                             Principal Place of Business:               Brooklyn (Kings)                            Principal Place of Business:
                                                                             Mailing Address of Debtor (if different from street address):                          Mailing Address of Joint Debtor (if different from street address):




                                                                             Location of Principal Assets of Business Debtor                                        Attorney: Jeffrey B. Peltz,
                                                                             (if different from street address above):                                                             Jeffrey B. Peltz, PC
                                                                                                                                                                                   26 Court Street, Suite 2707
                                                                                                                                                                                   Brooklyn, NY 11242 ph: (718) 625-0800
                                                                                                             Information Regarding the Debtor (Check the Applicable Boxes)
                                                                               Venue (Check any applicable box)
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                   Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
                                                                                   preceding the date of this petition or for a longer part of such 180 days than in any other District.
                                                                                   There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

                                                                                               Type of Debtor (Check all boxes that apply)
                                                                                                                                                                          Chapter or Section of Bankruptcy Code Under Which
                                                                                     Individual(s)                            Railroad
                                                                                                                                                                                   the Petition is Filed (Check one box)
                                                                                     Corporation                              Stockbroker
                                                                                                                                                                        Chapter 7             Chapter 11          Chapter 13
                                                                                     Partnership                              Commodity Broker
                                                                                                                                                                        Chapter 9                  Chapter 12
                                                                                     Other                                    Clearing Bank
                                                                                               Nature of Debts (Check one box)
                                                                                     Consumer/Non-Business                Business                                      Filing Fee (Check one box)
                                                                                                                                                                        Full Filing Fee attached
                                                                                      Chapter 11 Small Business (Check all boxes that apply)
                                                                                                                                                                        Filing Fee to be paid in installments (Applicable to individuals only)
                                                                                     Debtor is a small business as defined in 11 U.S.C. § 101                           Must attach signed application for the court's consideration
                                                                                     Debtor is and elects to be considered a small business under                       certifying that the debtor is unable to pay fee except in installments.
                                                                                     11 U.S.C. § 1121(e) (Optional)                                                     Rule 1006(b). See Official Form No. 3.
                                                                                                                                                                                                                THIS SPACE IS FOR COURT USE ONLY
                                                                                Statistical/Administrative Information (Estimates only)
                                                                                   Debtor estimates that funds will be available for distribution to unsecured creditors.
                                                                                   Debtor estimates that, after any exempt property is excluded and administrative expenses paid, there will
                                                                                   be no funds available for distribution to unsecured creditors.

                                                                                                                         1-15     16-49       50-99       100-199     200-999    1000-over
                                                                               Estimated Number of Creditors

                                                                               Estimated Assets
                                                                                 $0 to      $50,001 to   $100,001 to        $500,001 to   $1,000,001 to    $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000     $500,000           $1 million    $10 million      $50 million      $100 million    $100 million


                                                                               Estimated Debts
                                                                                 $0 to      $50,001 to    $100,001 to       $500,001 to   $1,000,001 to    $10,000,001 to   $50,000,001 to    More than
                                                                                $50,000      $100,000      $500,000          $1 million    $10 million      $50 million      $100 million    $100 million
                                                                                                Case 1-05-33052-cec                   Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28
                                                                             (Official Form 1) (12/03)                                                                                                              FORM B1, Page 2
                                                                              Voluntary Petition                                                            Name of Debtor(s):
                                                                              (This page must be completed and filed in every case)                              HECTOR MATTHEWS
                                                                              Location           Prior Bankruptcy Case Filed Within Last 6 Years (If more than one, attach additional sheet)
                                                                                                 NONE                                        Case Number:                            Date Filed:
                                                                              Where Filed:
                                                                                   Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor (If more than one, attach additional sheet)
                                                                              Name of Debtor: NONE                                                          Case Number:                             Date Filed:

                                                                                                                                                            Relationship:                            Judge:
                                                                              District:


                                                                                   Signature(s) of Debtor(s) (Individual/Joint)
                                                                                                                                               Signatures                                    Exhibit A
                                                                              I declare under penalty of perjury that the information provided in this            (To be completed if debtor is required to file periodic reports
                                                                              petition is true and correct.                                                       (e.g., forms 10K and 10Q) with the Securities and Exchange
                                                                              [If petitioner is an individual whose debts are primarily consumer debts            Commission pursuant to Section 13 or 15(d) of the Securities
                                                                              and has chosen to file under chapter 7] I am aware that I may proceed              Exchange Act of 1934 and is requesting relief under chapter 11)
                                                                              under chapter 7, 11, 12, or 13 of title 11, United States Code, understand          Exhibit A is attached and made a part of this petition.
                                                                              the relief available under each such chapter, and choose to proceed
                                                                              under chapter 7.
                                                                              I request relief in accordance with the chapter of title 11, United States                                     Exhibit B
                                                                              Code, specified in this petition.                                                             ((To be completed if debtor is an individual
                                                                                                                                                                            whose debts are primarily consumer debts)
                                                                                                                                                            I, the attorney for the petitioner named in the foregoing petition, declare
                                                                               X      /s/ HECTOR MATTHEWS
                                                                                                                                                            that I have informed the petitioner that [he or she] may proceed under
                                                                                  Signature of Debtor                                                       chapter 7, 11, 12, or 13 of title 11, United States Code, and have
                                                                                                                                                            explained the relief available under each such chapter.
                                                                               X
                                                                                  Signature of Joint Debtor
                                                                                                                                                            X     /s/ Jeffrey B. Peltz                        OCTOBER 14, 2005
                                                                                                                                                               Signature of Attorney for Debtor(s)                      Date
                                                                                  Telephone Number (If not represented by attorney)
                                                                                      OCTOBER 14, 2005                                                                                    Exhibit C
                                                                                  Date                                                                       Does the debtor own or have possession of any property that poses
                                                                                                                                                             or is alleged to pose a threat of imminent and identifiable harm to
                                                                                                    Signature of Attorney                                    public health or safety?
                                                                               X      /s/ Jeffrey B. Peltz                                                        Yes, and Exhibit C is attached and made a part of this petition.
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                  Signature of Attorney for Debtor(s)                                             No
                                                                                   JEFFREY B. PELTZ
                                                                                   Printed Name of Attorney for Debtor(s)                                             Signature of Non-Attorney Petition Preparer
                                                                                                                                                            I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.
                                                                                   Jeffrey B. Peltz, PC                                                     § 110, that I prepared this document for compensation, and that I have
                                                                                   Firm Name                                                                provided the debtor with a copy of this document.
                                                                                   26 Court Street, Suite 2707
                                                                                  Address
                                                                                                                                                               Printed Name of Bankruptcy Petition Preparer
                                                                                   Brooklyn, NY 11242

                                                                                   (718) 625-0800                                                              Social Security Number (Required by 11 U.S.C. § 110(c).)
                                                                                  Telephone Number
                                                                                   OCTOBER 14, 2005                                                            Address
                                                                                   Date

                                                                                      Signature of Debtor (Corporation/Partnership)                            Names and Social Security numbers of all other individuals who
                                                                               I declare under penalty of perjury that the information provided in this        prepared or assisted in preparing this document:
                                                                               petition is true and correct, and that I have been authorized to file this
                                                                               petition on behalf of the debtor.
                                                                               The debtor requests relief in accordance with the chapter of title 11,           If more than one person prepared this document, attach
                                                                               United States Code, specified in this petition.                                  additional sheets conforming to the appropriate official form for
                                                                                                                                                                each person.
                                                                               X
                                                                                   Signature of Authorized Individual                                        X
                                                                                                                                                               Signature of Bankruptcy Petition Preparer
                                                                                  Printed Name of Authorized Individual
                                                                                                                                                               Date
                                                                                  Title of Authorized Individual                                             A bankruptcy petition preparer’s failure to comply with the provisions
                                                                                                                                                             of title 11 and the Federal Rules of Bankruptcy Procedure may result
                                                                                  Date                                                                       in fines or imprisonment or both 11 U.S.C. §110; 18 U.S.C. §156.
                                                                                               Case 1-05-33052-cec                 Doc 1          Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             FORM B6 - Cont.
                                                                             (6/90)


                                                                                                   United States Bankruptcy Court
                                                                                                                       EASTERN DISTRICT OF NEW YORK
                                                                                          HECTOR MATTHEWS
                                                                                 In re                                                                                             Case No.
                                                                                                                 Debtor                                                                                 (If known)




                                                                                                                            SUMMARY OF SCHEDULES

                                                                             Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D,
                                                                             E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor's assets. Add the
                                                                             amounts from Schedules D, E, and F to determine the total amount of the debtor's liabilities.

                                                                                                                                                                                    AMOUNTS SCHEDULED
                                                                                                                  ATTACHED
                                                                                  NAME OF SCHEDULE                 (YES/NO)       NO. OF SHEETS              ASSETS                       LIABILITIES                OTHER


                                                                               A - Real Property                     YES               1             $                         0


                                                                               B - Personal Property                 YES               4             $                  5,825


                                                                               C - Property Claimed                  YES               1
                                                                                   As Exempt
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                               D - Creditors Holding                 YES               1                                            $            10,662
                                                                                   Secured Claims


                                                                               E - Creditors Holding Unsecured       YES               2                                            $               510
                                                                                   Priority Claims


                                                                               F - Creditors Holding Unsecured       YES               9                                            $            84,443
                                                                                   Nonpriority Claims


                                                                               G - Executory Contracts and           YES               1
                                                                                   Unexpired Leases


                                                                               H - Codebtors                         YES               1


                                                                               I - Current Income of                 YES               1                                                                    $                2,833
                                                                                   Individual Debtor(s)


                                                                               J - Current Expenditures of           YES               1                                                                    $                2,833
                                                                                   Individual Debtor(s)

                                                                                                   Total Number of Sheets
                                                                                                         in ALL Schedules              22


                                                                                                                                   Total Assets                         5,825


                                                                                                                                                           Total Liabilities                     95,615
                                                                                            Case 1-05-33052-cec            Doc 1     Filed 10/14/05             Entered 10/14/05 21:30:28

                                                                             FORM B6A
                                                                             (6/90)

                                                                                        HECTOR MATTHEWS
                                                                               In re                                                                            Case No.
                                                                                                             Debtor                                                                   (if known)

                                                                                                                      SCHEDULE A - REAL PROPERTY
                                                                                Except as directed below, list all real property in which the debtor has any legal, equitable, or future interest,
                                                                             including all property owned as a co-tenant, community property, or in which the debtor has a life estate. Include any
                                                                             property in which the debtor holds rights and powers exercisable for the debtor's own benefit. If the debtor is married,
                                                                             state whether husband, wife, or both own the property by placing an "H," "W," "J," or "C" in the column labeled
                                                                             "Husband, Wife, Joint, or Community." If the debtor holds no interest in real property, write "None" under "Description
                                                                             and Location of Property."
                                                                               Do not include interests in executory contracts and unexpired leases on this schedule. List them in Schedule G -
                                                                             Executory Contracts and Unexpired Leases.
                                                                               If an entity claims to have a lien or hold a secured interest in any property, state the amount of the secured claim.
                                                                             See Schedule D. If no entity claims to hold a secured interest in the property, write "None" in the column labeled
                                                                             "Amount of Secured Claim."
                                                                               If the debtor is an individual or if a joint petition is filed, state the amount of any exemption claimed in the property
                                                                             only in Schedule C - Property Claimed as Exempt.


                                                                                                                                                                       CURRENT
                                                                                                                                                                    MARKET VALUE
                                                                                                                                                                     OF DEBTOR'S
                                                                                           DESCRIPTION AND                                                           INTEREST IN                   AMOUNT OF
                                                                                             LOCATION OF                   NATURE OF DEBTOR'S                    PROPERTY WITHOUT                   SECURED
                                                                                              PROPERTY                    INTEREST IN PROPERTY                     DEDUCTING ANY                     CLAIM
                                                                                                                                                                   SECURED CLAIM
                                                                                                                                                                    OR EXEMPTION



                                                                                         NONE
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                                                                 Total                                 0
                                                                                                                                                         (Report also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec             Doc 1      Filed 10/14/05      Entered 10/14/05 21:30:28


                                                                             FORM B6B
                                                                             (10/89)
                                                                                        HECTOR MATTHEWS
                                                                               In re                                                                           Case No.
                                                                                                                    Debtor                                                   (if known)



                                                                                                                         SCHEDULE B - PERSONAL PROPERTY
                                                                                Except as directed below, list all personal property of the debtor of whatever kind. If the debtor has no property in
                                                                             one or more of the categories, place an "X" in the appropriate position in the column labeled "None." If additional
                                                                             space is needed in any category, attach a separate sheet properly identified with the case name, case number, and
                                                                             the number of the category. If the debtor is married, state whether husband, wife, or both own the property by placing
                                                                             an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or Community." If the debtor is an individual or a
                                                                             joint petition is filed, state the amount of any exemptions claimed only in Schedule C - Property Claimed as Exempt.
                                                                               Do not list interests in executory contracts and unexpired leases on this schedule. List them in Schedule G-
                                                                             Executory Contracts and Unexpired Leases.
                                                                               If the property is being held for the debtor by someone else, state that person's name and address under
                                                                             "Description and Location of Property."



                                                                                                                                                                                          CURRENT
                                                                                                                                                                                      MARKET VALUE OF
                                                                                                                                        DESCRIPTION AND LOCATION                     DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                               OF PROPERTY                           IN PROPERTY WITH-
                                                                                                                                                                                     OUT DEDUCTING ANY
                                                                                                                                                                                       SECURED CLAIM
                                                                                                                                                                                        OR EXEMPTION




                                                                              1.   Cash on hand.                             CASH ON HAND                                                           50
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                                             DEBTOR'S PERSON/RESIDENCE



                                                                              2. Checking, savings or other                  CHECKING ACCOUNT                                                      200
                                                                              financial accounts, certificates of
                                                                              deposit, or shares in banks, savings           DEBTOR'S BANK( COMMERCE BANK)
                                                                              and loan, thrift, building and loan, and
                                                                              homestead associations, or credit
                                                                              unions, brokerage houses, or
                                                                              cooperatives.


                                                                              3. Security deposits with public               SECURITY DEPOSIT                                                    1,500
                                                                              utilities, telephone companies,
                                                                              landlords, and others.                         DEBTOR'A LANDLORD



                                                                              4. Household goods and furnishings,            MISC. HOUSEHOLD                                                       700
                                                                              including audio, video, and computer
                                                                              equipment.                                     GOODS/FURNISHINGS
                                                                                                                             DEBTOR'S RESIDENCE
                                                                                                Case 1-05-33052-cec                    Doc 1      Filed 10/14/05      Entered 10/14/05 21:30:28


                                                                             FORM B6B
                                                                             (10/89)
                                                                                        HECTOR MATTHEWS
                                                                              In re                                                                                   Case No.
                                                                                                                       Debtor                                                       (if known)

                                                                                                                           SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                  (Continuation Sheet)

                                                                                                                                                                                                 CURRENT
                                                                                                                                                                                             MARKET VALUE OF
                                                                                                                                               DESCRIPTION AND LOCATION                     DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                      OF PROPERTY                           IN PROPERTY WITH-
                                                                                                                                                                                            OUT DEDUCTING ANY
                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                               OR EXEMPTION



                                                                              5. Books. Pictures and other art                  X
                                                                              objects, antiques, stamp, coin, record,
                                                                              tape, compact disc, and other
                                                                              collections or collectibles.

                                                                              6.   Wearing apparel.                                 MISC. CLOTHINGS                                                       250
                                                                                                                                    DEBTOR'S PERSON/RESIDENCE



                                                                              7.   Furs and jewelry.                                MISC. JEWELRY                                                          80
                                                                                                                                    DEBTOR'S PERSON/RESIDENCE
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              8. Firearms and sports, photographic,             X
                                                                              and other hobby equipment.

                                                                              9. Interests in insurance policies.               X
                                                                              Name insurance company of each
                                                                              policy and itemize surrender or refund
                                                                              value of each.

                                                                              10. Annuities. Itemize and name each              X
                                                                              issuer.

                                                                              11. Interests in IRA, ERISA, Keogh, or            X
                                                                              other pension or profit sharing plans.
                                                                              Itemize.

                                                                              12. Stock and interests in incorporated           X
                                                                              and unincorporated businesses.
                                                                              Itemize.

                                                                              13. Interests in partnerships or joint            X
                                                                              ventures. Itemize.

                                                                              14. Government and corporate bonds                X
                                                                              and other negotiable and
                                                                              non-negotiable instruments.

                                                                              15. Accounts receivable.                          X
                                                                              16. Alimony, maintenance, support,                X
                                                                              and property settlement to which the
                                                                              debtor is or may be entitled. Give
                                                                              particulars.
                                                                                                Case 1-05-33052-cec                  Doc 1      Filed 10/14/05        Entered 10/14/05 21:30:28


                                                                             FORM B6B
                                                                             (10/89)
                                                                                        HECTOR MATTHEWS
                                                                              In re                                                                                   Case No.
                                                                                                                    Debtor                                                          (if known)

                                                                                                                          SCHEDULE B - PERSONAL PROPERTY
                                                                                                                                 (Continuation Sheet)

                                                                                                                                                                                                 CURRENT
                                                                                                                                                                                             MARKET VALUE OF
                                                                                                                                             DESCRIPTION AND LOCATION                       DEBTOR'S INTEREST
                                                                                        TYPE OF PROPERTY
                                                                                                                                                    OF PROPERTY                             IN PROPERTY WITH-
                                                                                                                                                                                            OUT DEDUCTING ANY
                                                                                                                                                                                              SECURED CLAIM
                                                                                                                                                                                               OR EXEMPTION



                                                                              17. Other liquidated debts owing               X
                                                                              debtor including tax refunds. Give
                                                                              particulars.

                                                                              18. Equitable or future interests, life        X
                                                                              estates, and rights or powers
                                                                              exercisable for the benefit of the debtor
                                                                              other than those listed in Schedule of
                                                                              Real Property.

                                                                              19. Contingent and noncontingent               X
                                                                              interests in estate or a decedent, death
                                                                              benefit plan, life insurance policy, or
                                                                              trust.

                                                                              20. Other contingent and unliquidated          X
                                                                              claims of every nature, including tax
                                                                              refunds, counterclaims of the debtor,
                                                                              and rights of setoff claims. Give
                                                                              estimated value of each.
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              21. Patents, copyrights, and other             X
                                                                              intellectual property. Give particulars.

                                                                              22. Licenses, franchises, and other            X
                                                                              general intangibles. Give particulars.

                                                                              23. Automobiles, trucks, trailers, and             2001 Chrysler PT Cruiser Sport 4-D                                     3,045
                                                                              other vehicles and accessories.
                                                                                                                                 DEBTOR'S POSSESSION



                                                                              24. Boats, motors, and accessories.            X
                                                                              25. Aircraft and accessories.                  X
                                                                              26. Office equipment, furnishings, and         X
                                                                              supplies.

                                                                              27. Machinery, fixtures, equipment, and        X
                                                                              supplies used in business.

                                                                              28. Inventory.                                 X
                                                                              29. Animals.                                   X
                                                                              30. Crops - growing or harvested. Give         X
                                                                              particulars.

                                                                              31. Farming equipment and                      X
                                                                              implements.
                                                                                               Case 1-05-33052-cec             Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28


                                                                             FORM B6B
                                                                             (10/89)
                                                                                       HECTOR MATTHEWS
                                                                              In re                                                                               Case No.
                                                                                                                  Debtor                                                             (if known)

                                                                                                                        SCHEDULE B - PERSONAL PROPERTY
                                                                                                                               (Continuation Sheet)

                                                                                                                                                                                                  CURRENT
                                                                                                                                                                                              MARKET VALUE OF
                                                                                                                                       DESCRIPTION AND LOCATION                              DEBTOR'S INTEREST
                                                                                       TYPE OF PROPERTY
                                                                                                                                              OF PROPERTY                                    IN PROPERTY WITH-
                                                                                                                                                                                             OUT DEDUCTING ANY
                                                                                                                                                                                               SECURED CLAIM
                                                                                                                                                                                                OR EXEMPTION



                                                                              32. Farm supplies, chemicals, and            X
                                                                              feed.

                                                                              33. Other personal property of any kind      X
                                                                              not already listed.
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                                               0
                                                                                                                                   continuation sheets attached              Total      $                    5,825

                                                                                                                                                                                     (Include amounts from any continuation
                                                                                                                                                                                     sheets attached. Report total also on
                                                                                                                                                                                     Summary of Schedules)
                                                                                                Case 1-05-33052-cec                 Doc 1      Filed 10/14/05           Entered 10/14/05 21:30:28


                                                                             FORM B6C
                                                                             (6/90)
                                                                                        HECTOR MATTHEWS
                                                                               In re                                                                                    Case No.
                                                                                                                 Debtor                                                                       (if known)



                                                                                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                                             Debtor elects the exemption to which debtor is entitled under
                                                                             (Check one box)
                                                                                  11 U.S.C. §522(b)(1)    Exemptions provided in 11 U.S.C. §522(d). Note: These exemptions are available only in certain states.
                                                                                  11 U.S.C. §522(b)(2)    Exemptions available under applicable nonbankruptcy federal laws, state or local law where the debtor's domicile
                                                                                                          has been located for the 180 days immediately preceding the filing of the petition, or for a longer portion of the
                                                                                                          180-day period than in any other place, and the debtor's interest as a tenant by the entirety or joint tenant to the
                                                                                                          extent the interest is exempt from process under applicable nonbankruptcy law.

                                                                                                                                          SPECIFY LAW                      VALUE OF                    CURRENT MARKET
                                                                                                                                                                                                      VALUE OF PROPERTY
                                                                                        DESCRIPTION OF PROPERTY                          PROVIDING EACH                     CLAIMED
                                                                                                                                                                                                      WITHOUT DEDUCTING
                                                                                                                                           EXEMPTION                       EXEMPTION                     EXEMPTIONS

                                                                              CASH ON HAND                                      NY Debt & Cred Law § 283(2)                              50                              50

                                                                              SECURITY DEPOSIT                                  NY Civ Prac Law & Rules §                             1,500                          1,500
                                                                                                                                5205(g)

                                                                              MISC. HOUSEHOLD                                   NY Civ Prac Law & Rules §                               700                            700
                                                                              GOODS/FURNISHINGS                                 5205(a)(5)

                                                                              MISC. CLOTHINGS                                   NY Civ Prac Law & Rules §                               250                            250
                                                                                                                                5205(a)(5)
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              MISC. JEWELRY                                     NY Civ Prac Law & Rules §                                80                              80
                                                                                                                                5205(a)(5)

                                                                              2001 Chrysler PT Cruiser Sport 4-D                NY Debt & Cred Law §                                      0                          3,045
                                                                                                                                282(iii)(1)
                                                                                                Case 1-05-33052-cec                                      Doc 1         Filed 10/14/05       Entered 10/14/05 21:30:28


                                                                             Form B6D
                                                                             (12/03)
                                                                                         HECTOR MATTHEWS
                                                                             In re _______________________________________________,                                                         Case No. _________________________________
                                                                                                             Debtor                                                                                                                             (If known)

                                                                                                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                                                                                        State the name, mailing address, including zip code and last four digits of any account number of all entities holding claims secured
                                                                             by property of the debtor as of the date of filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so. List creditors holding all types of secured interests
                                                                             such as judgment liens, garnishments, statutory liens, mortgages, deeds of trust, and other security interests. List creditors in alphabetical order
                                                                             to the extent practicable. If all secured creditors will not fit on this page, use the continuation sheet provided.

                                                                                       If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor,"
                                                                             include the entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether
                                                                             husband, wife, both of them, or the marital community may be liable on each claim by placing an "H", "W", "J", or "C" in the column labeled
                                                                             "Husband, Wife, Joint, or Community." If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is
                                                                             unliquidated, place an "X" in the column labeled "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You
                                                                             may need to place an "X" in more than one of these three columns.)

                                                                             Report the total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also
                                                                             on the Summary of Schedules.
                                                                                 Check this box if debtor has no creditors holding secured claims to report on this Schedule D.
                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                            AMOUNT




                                                                                                                                                                                                                UNLIQUIDATED
                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                   CONTINGENT
                                                                                                                                                                 DATE CLAIM WAS INCURRED,                                                      OF
                                                                                                                            CODEBTOR




                                                                                                                                                                                                                               DISPUTED
                                                                                           CREDITOR’S NAME,                                                                                                                                  CLAIM
                                                                                           MAILING ADDRESS                                                          NATURE OF LIEN, AND                                                                      UNSECURED
                                                                                                                                                                  DESCRIPTION AND MARKET                                                    WITHOUT           PORTION,
                                                                                         INCLUDING ZIP CODE,                                                                                                                               DEDUCTING
                                                                                        AND ACCOUNT NUMBER                                                          VALUE OF PROPERTY                                                                          IF ANY
                                                                                                                                                                      SUBJECT TO LIEN                                                       VALUE OF
                                                                                          (See instructions above.)                                                                                                                       COLLATERAL

                                                                             ACCOUNT NO.
                                                                                                                                                              Lien: Car Loan                                                                                    7,617
                                                                                                                                                              Security: 2001 Chrysler PT Cruiser
                                                                             SOVEREIGN BANK
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                                                                              Sport 4-D
                                                                             P.O. BOX 12646                                                                                                                                                   10,662
                                                                             READING, PA 19612                                                                RETAIN, KEEP CURRENT


                                                                                                                                                               VALUE $                    3,045
                                                                             ACCOUNT NO.




                                                                                                                                                               VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                              VALUE $
                                                                             ACCOUNT NO.




                                                                                                                                                               VALUE $

                                                                               0                                                                                                                  Subtotal ? $                                10,662
                                                                              _______continuation sheets attached                                                                         (Total of this page)
                                                                                                                                                                                                      Total    $                              10,662
                                                                                                                                                                                       (Use only on last page)
                                                                                                                                                                                         (Report total also on Summary of Schedules)
                                                                                                  Case 1-05-33052-cec                 Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28

                                                                             Form B6E
                                                                             (04/04)



                                                                                         HECTOR MATTHEWS
                                                                                    In re________________________________________________________________,                        Case No.______________________________
                                                                                                            Debtor                                                                              (if known)

                                                                                          SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                        A complete list of claims entitled to priority, listed separately by type of priority, is to be set forth on the sheets provided. Only holders of
                                                                             unsecured claims entitled to priority should be listed in this schedule. In the boxes provided on the attached sheets, state the name, mailing
                                                                             address, including zip code, and last four digits of the account number, if any, of all entities holding priority claims against the debtor or the
                                                                             property of the debtor, as of the date of the filing of the petition. The complete account number of any account the debtor has with the creditor is
                                                                             useful to the trustee and the creditor and may be provided if the debtor chooses to do so.

                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                             entity on the appropriate schedule of creditors, and complete Schedule H-Codebtors. If a joint petition is filed, state whether husband, wife, both
                                                                             of them or the marital community may be liable on each claim by placing an "H,""W,""J," or "C" in the column labeled "Husband, Wife, Joint, or
                                                                             Community."
                                                                                       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                             "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of
                                                                             these three columns.)
                                                                                      Report the total of claims listed on each sheet in the box labeled "Subtotal" on each sheet. Report the total of all claims listed on this
                                                                             Schedule E in the box labeled "Total" on the last sheet of the completed schedule. Repeat this total also on the Summary of Schedules.

                                                                                    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

                                                                              TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets)
                                                                                   Extensions of credit in an involuntary case
                                                                                       Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
                                                                             the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(2).

                                                                                   Wages, salaries, and commissions
                                                                                       Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             qualifying independent sales representatives up to $4,925* per person earned within 90 days immediately preceding the filing of the original petition,
                                                                             or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(3).

                                                                                  Contributions to employee benefit plans
                                                                                        Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or
                                                                             the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

                                                                                   Certain farmers and fishermen
                                                                                          Claims of certain farmers and fishermen, up to $4,925* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(5).

                                                                                  Deposits by individuals
                                                                                        Claims of individuals up to $2,225* for deposits for the purchase, lease, or rental of property or services for personal, family, or household
                                                                             use, that were not delivered or provided. 11 U.S.C. § 507(a)(6).

                                                                                   Alimony, Maintenance, or Support
                                                                                       Claims of a spouse, former spouse, or child of the debtor for alimony, maintenance, or support, to the extent provided in 11 U.S.C. §
                                                                             507(a)(7).

                                                                                   Taxes and Certain Other Debts Owed to Governmental Units
                                                                                      Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

                                                                                   Commitments to Maintain the Capital of an Insured Depository Institution
                                                                                       Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
                                                                             Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11
                                                                             U.S.C. § 507 (a)(9).
                                                                                        * Amounts are subject to adjustment on April 1, 2007, and every three years thereafter with respect to cases commenced on or after the date of
                                                                                        adjustment.
                                                                                                                                           1 continuation sheets attached
                                                                                                                                         ____
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6E - Cont.
                                                                             (04/04)

                                                                                        HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                               (If known)

                                                                                   SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)
                                                                                                                                                                                                         Taxes & Debts to Governments
                                                                                                                                                                                                                                           TYPE OF PRIORITY




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                        UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                           CONTINGENT
                                                                                                                               CODEBTOR
                                                                                          CREDITOR’S NAME,                                                          DATE CLAIM WAS INCURRED




                                                                                                                                                                                                                                       DISPUTED
                                                                                          MAILING ADDRESS                                                            AND CONSIDERATION FOR                                                         AMOUNT             AMOUNT
                                                                                        INCLUDING ZIP CODE,                                                                  CLAIM                                                                   OF             ENTITLED TO
                                                                                       AND ACCOUNT NUMBER                                                                                                                                           CLAIM            PRIORITY
                                                                                         (See instructions above.)


                                                                             ACCOUNT NO.
                                                                                                447562993                                                         Incurred: 2003
                                                                                                                                                                  2003 STATE TAXES OWED
                                                                             NEW YORK STATE
                                                                             DEPARTMENT                                                                                                                                                                    510               510
                                                                             OF TAXATION AND FINANCE
                                                                             QUEENS DISTRICT OFFICE
                                                                             KEW GARDENS, NY 11415
                                                                             ACCOUNT NO.
                                                                                                447562993                                                         REPRESENTING NY STATE
                                                                                                                                                                  DEPT. OF TAXATION AND
                                                                             STATE OF NEW YORK
                                                                                                                                                                  FINANCE
                                                                             OFFICE OF THE ATTORNEY                                                                                                                                               Notice Only       Notice Only
                                                                             GENERAL
                                                                             120 BROADWAY
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             NEW YORK, NY 10271
                                                                             ACCOUNT NO.




                                                                             ACCOUNT NO.




                                                                              ACCOUNT NO.




                                                                                        1 of ___continuation
                                                                             Sheet no. ___     1             sheets attached to Schedule of Creditors                                                      Subtotal ?   $
                                                                             Holding Priority Claims                                                                                               (Total of this page)                                    510
                                                                                                                                                                                                              Total     $
                                                                                                                                                                   (Use only on last page of the completed Schedule E.)                                    510
                                                                                                                                                                                           (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                       Doc 1        Filed 10/14/05           Entered 10/14/05 21:30:28

                                                                             Form B6F (12/03)


                                                                                       HECTOR MATTHEWS
                                                                               In re __________________________________________,                                                                Case No. _________________________________
                                                                                                          Debtor                                                                                                                            (If known)

                                                                                      SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                       State the name, mailing address, including zip code, and last four digits of any account number, of all entities holding unsecured claims
                                                                             without priority against the debtor or the property of the debtor, as of the date of filing of the petition. The complete account number of any account the
                                                                             debtor has with the creditor is useful to the trustee and the creditor and may be provided if the debtor chooses to do so. Do not include claims listed in
                                                                             Schedules D and E. If all creditors will not fit on this page, use the continuation sheet provided.
                                                                                        If any entity other than a spouse in a joint case may be jointly liable on a claim, place an "X" in the column labeled "Codebtor," include the
                                                                             entity on the appropriate schedule of creditors, and complete Schedule H - Codebtors. If a joint petition is filed, state whether husband, wife, both of
                                                                             them, or the marital community maybe liable on each claim by placing an "H," "W," "J," or "C" in the column labeled "Husband, Wife, Joint, or
                                                                             Community."
                                                                                       If the claim is contingent, place an "X" in the column labeled "Contingent." If the claim is unliquidated, place an "X" in the column labeled
                                                                             "Unliquidated." If the claim is disputed, place an "X" in the column labeled "Disputed." (You may need to place an "X" in more than one of these
                                                                             three columns.)
                                                                                      Report total of all claims listed on this schedule in the box labeled "Total" on the last sheet of the completed schedule. Report this total also
                                                                             on the Summary of Schedules.
                                                                                        Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.
                                                                                                                                       HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                             UNLIQUIDATED
                                                                                                                                         ORCOMMUNITY




                                                                                                                                                                                                                CONTINGENT
                                                                                                                            CODEBTOR




                                                                                                                                                                   DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                            DISPUTED
                                                                                          CREDITOR’S NAME,                                                                                                                                                 AMOUNT
                                                                                          MAILING ADDRESS                                                            CONSIDERATION FOR CLAIM.
                                                                                                                                                                   IF CLAIM IS SUBJECT TO SETOFF,                                                            OF
                                                                                        INCLUDING ZIP CODE,                                                                                                                                                 CLAIM
                                                                                       AND ACCOUNT NUMBER                                                                     SO STATE.
                                                                                         (See instructions above.)

                                                                              ACCOUNT NO.       4465680500611701                                              Consideration: Credit card debt
                                                                                                                                                              ATTORNEYS REPRESENTING
                                                                              ALLEN & ROSENTHAL
                                                                                                                                                              PROVIDIAN
                                                                              111 LIVINGSTON STREET 11th                                                                                                                                                   Notice Only
                                                                              FLOOR
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              BROOKLYN, NY 11201


                                                                             ACCOUNT NO.        371271509523005                                               Consideration: Credit card debt
                                                                                                                                                              AMERICAN EXPRESS BANKRUPTCY
                                                                              AMERICAN EXPRESS
                                                                                                                                                              DEPARTMENT
                                                                              C/O BECKETT AND LEE LLP                                                                                                                                                      Notice Only
                                                                              PO BOX 3024
                                                                              MALVERN, PA 19355-0701


                                                                              ACCOUNT NO.       371271509523005                                               Incurred: 1996-2001
                                                                                                                                                              Consideration: Credit card debt
                                                                              AMERICAN EXPRESS
                                                                                                                                                              CREDIT CARD PURCHASES
                                                                              PO BOX 360002                                                                                                                                                                          7,178
                                                                              FT LAUDERDALE FL 33336-0002



                                                                              ACCOUNT NO.       371271509522007                                               Incurred: 1996-2001
                                                                                                                                                              Consideration: Credit card debt
                                                                              AMERICAN EXPRESS
                                                                                                                                                              CREDIT CARD PURCHASES
                                                                              PO BOX 360002                                                                                                                                                                          4,105
                                                                              FT LAUDERDALE FL 33336-0002




                                                                                                                              8
                                                                                                                           _______continuation sheets attached
                                                                                                                                                                                                              Subtotal                                 $            11,283
                                                                                                                                                                                                      (Total of this page)
                                                                                                                                                                                                                  Total                                $
                                                                                                                                                                                                   (Use only on last page)
                                                                                                                                                                                                     (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       CG8890987594793                                                   Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR
                                                                              ARROW FINANCIAL SERVICES
                                                                                                                                                                  MONOGRAM BANK (JC PENNEY)
                                                                              PO BOX 469005                                                                                                                                                                       Notice Only
                                                                              CHICAGO IL 60646-9005



                                                                              ACCOUNT NO.       0047757067                                                        Incurred: 2004
                                                                                                                                                                  CELL PHONE BILL
                                                                              AT&T WIRELESS
                                                                              16331 NE 72ND WAY                                                                                                                                                                                 671
                                                                              REDMOND, WA 98052
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       11235863/11235864                                                 Incurred: 1978-1980
                                                                                                                                                                  Consideration: Credit card debt
                                                                              BANK OF AMERICA
                                                                                                                                                                  CREDIT CARD PURCHASES
                                                                              PO BOX 45224                                                                                                                                                                                  6,065
                                                                              JACKSONVILLE, FL 32232-5224



                                                                              ACCOUNT NO.       11235863/11235864                                                 Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR BANK OF
                                                                              CAPITAL ACQUISITIONS &
                                                                                                                                                                  AMERICA
                                                                              MANAGEMENT                                                                                                                                                                          Notice Only
                                                                              COMPANY
                                                                              PO BOX 5087
                                                                              ROCKFORD IL 61125-0087

                                                                              ACCOUNT NO.       4121741486949576                                                  Incurred: 1999-2001
                                                                                                                                                                  Consideration: Credit card debt
                                                                              CAPITAL ONE
                                                                                                                                                                  CREDIT CARD PURCHASES
                                                                              (BANKRUPTCY DEPARTMENT)                                                                                                                                                                            59
                                                                              PO BOX 85167
                                                                              RICHMOND, VIRGINIA 23285-5167


                                                                                         1 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                     6,795
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       7671131012421216                                                  Incurred: 1996-2003
                                                                                                                                                                  Consideration: Credit card debt
                                                                              CHASE
                                                                                                                                                                  CHECKING ACCOUNT OVERDRAFT
                                                                              PO BOX 15583                                                                                                                                                                                  6,151
                                                                              WILMINGTON, DE 19886-1194



                                                                              ACCOUNT NO.       514801299                                                         Incurred: 1998-2001
                                                                                                                                                                  Consideration: Credit card debt
                                                                              CITIBANK
                                                                                                                                                                  CREDIT CARD PURCHASES
                                                                              PO BOX 790114                                                                                                                                                                                     491
                                                                              ST LOUS, MO 63179-0114
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       0006498925                                                        Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR SPRINT
                                                                              COLLECTECH SYSTEMS INC.
                                                                                                                                                                  PCS
                                                                              CONSUMER SERVICE                                                                                                                                                                    Notice Only
                                                                              DEPARTMENT
                                                                              PO BOX 4157
                                                                              WOODLAND HILLS CA 91365

                                                                              ACCOUNT NO.       0234601900035141                                                  COLLECTION AGENCY FOR
                                                                                                                                                                  HOUSEHOLD BANK
                                                                              COLONIAL CREDIT, LLC
                                                                              207 QUAKER LANE                                                                                                                                                                     Notice Only
                                                                              WEST WARWICK, RI 02893



                                                                              ACCOUNT NO.       4465680500611701                                                  Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR
                                                                              COLORADO CAPITAL
                                                                                                                                                                  PROVIDIAN
                                                                              INVESTMENTS, INC.                                                                                                                                                                   Notice Only
                                                                              305 NORTHEAST LOOP 820, STE.
                                                                              404
                                                                              HURST, TX 76053

                                                                                         2 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                     6,642
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       50370049590                                                       Incurred: 2000
                                                                                                                                                                  Consideration: Credit card debt
                                                                              COLUMBIA HOUSE
                                                                                                                                                                  RETAIL STORE PURCHASES
                                                                              PO BOX 1114-1400 N.                                                                                                                                                                                83
                                                                              FRUITRIDGE AVENUE
                                                                              TERRE HAUTE IN 47811


                                                                              ACCOUNT NO.       4168100018843753                                                  Incurred: 1996-2001
                                                                                                                                                                  ASSIGNEE OF DISCOVER
                                                                              CREDIGY RECEIVABLES
                                                                              3950 JOHNS CREEK CT STE                                                                                                                                                                     23,881
                                                                              SUWANEE, GA 30024
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       5458004506262383                                                  Incurred: 2000-2001
                                                                                                                                                                  RETAIL STORE PURCHASES
                                                                              DIRECT MERCHANTS BANK
                                                                              (DELINQUENT ACCOUNT                                                                                                                                                                               653
                                                                              PROCESSING)
                                                                              PO BOX 550680
                                                                              JACKSONVILLE, FL 32255-4150

                                                                              ACCOUNT NO.       4168100018843753                                                  Consideration: Credit card debt
                                                                                                                                                                  ASSIGNOR TO CREDIGY
                                                                              DISCOVER
                                                                                                                                                                  RECEIVABLES, INC.
                                                                              PO BOX 15251                                                                                                                                                                        Notice Only
                                                                              WILMINGTON, DE 19886-5251



                                                                              ACCOUNT NO.       7671131012421216                                                  Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR CHASE
                                                                              FIRST RESOLUTION
                                                                              INVESTMENT CORP.                                                                                                                                                                    Notice Only
                                                                              PO BOX 34000
                                                                              SEATTLE, WA 98124-1000
                                                                              REF # 94769

                                                                                         3 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                   24,617
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       0047757067                                                        COLLECTION AGENCY FOR AT&T
                                                                                                                                                                  WIRELESS
                                                                              GC SERVICES LIMITED
                                                                              PARTNERSHIP                                                                                                                                                                         Notice Only
                                                                              COLLECTION AGENCY DIVISION
                                                                              6330 GULFTON
                                                                              HOUSTON, TX 77081

                                                                              ACCOUNT NO.       268838                                                            Incurred: 1999
                                                                                                                                                                  CAR LOAN DEFICENCY
                                                                              GOLD KEY LEASE, INC
                                                                              580 WHITE PLAINS RD.                                                                                                                                                                        17,790
                                                                              5TH FLOOR
                                                                              TARRYTOWN, NY 10591
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       0234601900035141                                                  Incurred: 1996-2001
                                                                                                                                                                  Consideration: Credit card debt
                                                                              HOUSEHOLD
                                                                                                                                                                  CREDIT CARD PURCHASES
                                                                              (BANKRUPTCY DEPARTMENT)                                                                                                                                                                       5,048
                                                                              PO BOX 9055
                                                                              BRANDON, FL 33509


                                                                              ACCOUNT NO.       371271509523005                                                   ATTORNEY REPRESENTING
                                                                                                                                                                  AMERICAN EXPRESS
                                                                              LAW OFFICE OF MITCHELL N.
                                                                              KAY                                                                                                                                                                                 Notice Only
                                                                              PO BOX 9006
                                                                              SMITHTOWN NY 11787-9006
                                                                              REF # 49015182-11

                                                                              ACCOUNT NO.       4465680500611701                                                  ATTORNEY REPRESENTING
                                                                                                                                                                  PROVIDIAN
                                                                              LENAHAN LAW OFFICE
                                                                              PO BOX 990                                                                                                                                                                          Notice Only
                                                                              BUFFALO, NY 14207
                                                                              REF # 150765


                                                                                         4 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                   22,838
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       42230120603                                                       Incurred: 1998-1999
                                                                                                                                                                  Consideration: Credit card debt
                                                                              MACY'S
                                                                                                                                                                  RETAIL STORE PURCHASES
                                                                              PO BOX 8135                                                                                                                                                                                       663
                                                                              MASON, OH 45040



                                                                              ACCOUNT NO.       CG8890987594793                                                   Incurred: 1998-2001
                                                                                                                                                                  Consideration: Credit card debt
                                                                              MONOGRAM BANK
                                                                                                                                                                  RETAIL STORE PURCHASES
                                                                              (JC PENNEY)                                                                                                                                                                                   2,789
                                                                              P.O. BOX 981133
                                                                              EL PASO, TX 79998-1133
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       5121071715430827                                                  COLLECTION AGENCY FOR SEARS
                                                                              MRS ASSOCIATES INC
                                                                              3 EXECUTIVE CAMPUS, SUITE                                                                                                                                                           Notice Only
                                                                              400
                                                                              CHERRY HILL NJ 08002
                                                                              REF # 4415852

                                                                              ACCOUNT NO.       5458004506262383                                                  COLLECTION AGENCY FOR DIRECT
                                                                                                                                                                  MERCHANTS BANK
                                                                              NATIONAL ASSET
                                                                              MANAGEMENT                                                                                                                                                                          Notice Only
                                                                              ENTERPRISES, INC
                                                                              PO BOX 724747
                                                                              ATLANTA, GA 31139

                                                                              ACCOUNT NO.       50370049590                                                       COLLECTION AGENCY FOR
                                                                                                                                                                  COLUMBIA HOUSE COMPANY
                                                                              NCO FINANCIAL SYSTEMS II LLC
                                                                              PO BOX 8180, DEPT 07                                                                                                                                                                Notice Only
                                                                              PHILADELPHIA, PA 19101-8180



                                                                                         5 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                     3,452
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       514801299                                                         COLLECTION AGENCY FOR CITIBANK
                                                                              NORTHLAND GROUP, INC.
                                                                              7831 GLENROY RD. SUITE # 350                                                                                                                                                        Notice Only
                                                                              EDINA, MN 55439
                                                                              REF # F3037361


                                                                              ACCOUNT NO.       42230120603                                                       Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR MACY'S
                                                                              NORTHLAND GROUP, INC.
                                                                              7831 GLENROY RD. SUITE # 350                                                                                                                                                        Notice Only
                                                                              EDINA, MN 55439
                                                                              REF # F6479363
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       5121071715430827                                                  COLLECTION AGENCY FOR SEARS
                                                                              PIONEER CREDIT RECOVERY
                                                                              INC.                                                                                                                                                                                Notice Only
                                                                              SUITE 29
                                                                              2221 NIAGARA FALLS BLVD.
                                                                              NIAGARA FALLS NY 14304-5717

                                                                              ACCOUNT NO.       4465680500611701                                                  Incurred: 1997-2001
                                                                                                                                                                  Consideration: Credit card debt
                                                                              PROVIDIAN
                                                                                                                                                                  CREDIT CARD PURCHASES
                                                                              P.O. BOX 99604                                                                                                                                                                                7,048
                                                                              ARLINGTON TX 76096-9604



                                                                              ACCOUNT NO.       268838                                                            ATTORNEY REPRESENTING GOLD
                                                                                                                                                                  KEY LEASE, INC
                                                                              RUBIN & ROTHMAN, LLC
                                                                              1787 VETERANS HIGHWAY                                                                                                                                                               Notice Only
                                                                              ISLANDIA NY 11749



                                                                                         6 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                     7,048
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       5121071715430827                                                  Incurred: 1996-2002
                                                                                                                                                                  Consideration: Credit card debt
                                                                              SEARS
                                                                                                                                                                  RETAIL STORE PURCHASES
                                                                              COLLECTION DEPARTMENT                                                                                                                                                                         1,242
                                                                              PO BOX 182532
                                                                              COLUMBUS, OH 43218-2532


                                                                              ACCOUNT NO.       0006498925                                                        Incurred: 2002-2003
                                                                                                                                                                  CELL PHONE BILL
                                                                              SPRINT PCS
                                                                              P.O. BOX 8077                                                                                                                                                                                     526
                                                                              LONDON, KY 40742
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.       4168100018843753                                                  Consideration: Credit card debt
                                                                                                                                                                  ATTORNEY REPRESENTING CREDIGY
                                                                              STEWART & ASSOCIATES, PC.
                                                                                                                                                                  RECEIVABLES, INC.
                                                                              PO BOX 723848                                                                                                                                                                       Notice Only
                                                                              ATLANTA, GA 31139



                                                                              ACCOUNT NO.       268838                                                            Consideration: Credit card debt
                                                                                                                                                                  COLLECTION AGENCY FOR GOLD
                                                                              SUNRISE CREDIT SERVICES
                                                                                                                                                                  KEY LEASE, INC
                                                                              2174 JACKSON AVENUE                                                                                                                                                                 Notice Only
                                                                              SEAFORD NY 11783



                                                                              ACCOUNT NO.       0234601900035141                                                  Consideration: Credit card debt
                                                                                                                                                                  ATTORNEY REPRESENTING
                                                                              WOLPOFF & ABRAMSON LLP
                                                                                                                                                                  HOUSEHOLD BANK
                                                                              TWO IRVINGTON CENTRE                                                                                                                                                                Notice Only
                                                                              702 KING FARM BLVD.
                                                                              ROCKVILLE, MARYLAND
                                                                              20850-5775

                                                                                         7 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                     1,768
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                                Case 1-05-33052-cec                                              Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28

                                                                             Form B6F - Cont.
                                                                             (12/03)

                                                                                         HECTOR MATTHEWS
                                                                                In re __________________________________________________,                                                             Case No. _________________________________
                                                                                                                  Debtor                                                                                                                              (If known)


                                                                                   SCHEDULE F- CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                                                                                         (Continuation Sheet)




                                                                                                                                          HUSBAND, WIFE, JOINT




                                                                                                                                                                                                                                       UNLIQUIDATED
                                                                                                                                            ORCOMMUNITY




                                                                                                                                                                                                                          CONTINGENT
                                                                                                                               CODEBTOR
                                                                                           CREDITOR’S NAME,
                                                                                                                                                                          DATE CLAIM WAS INCURRED AND




                                                                                                                                                                                                                                                       DISPUTED
                                                                                           MAILING ADDRESS                                                                                                                                                           AMOUNT
                                                                                                                                                                            CONSIDERATION FOR CLAIM.                                                                   OF
                                                                                         INCLUDING ZIP CODE,
                                                                                                                                                                          IF CLAIM IS SUBJECT TO SETOFF,                                                              CLAIM
                                                                                        AND ACCOUNT NUMBER
                                                                                          (See instructions above.)


                                                                              ACCOUNT NO.       5458004506262383                                                  COLLECTION AGENCY FOR DIRECT
                                                                                                                                                                  MERCHANTS BANK
                                                                              WORLDWIDE ASSET
                                                                              MANAGEMENT, LLC                                                                                                                                                                     Notice Only
                                                                              PO BOX 672047
                                                                              MARIETTA GA 30006


                                                                              ACCOUNT NO.
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                              ACCOUNT NO.




                                                                              ACCOUNT NO.




                                                                              ACCOUNT NO.




                                                                                         8 of _____continuation
                                                                              Sheet no. _____    8                sheets attached to Schedule of Creditors                                                                 Subtotal ? $                                         0
                                                                              Creditors Holding Unsecured Nonpriority Claims                                                                                      (Total of this page)
                                                                                                                                                                                                                             Total     $                                  84,443
                                                                                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                                                                                                                                          (Report total also on Summary of Schedules)
                                                                                              Case 1-05-33052-cec            Doc 1     Filed 10/14/05   Entered 10/14/05 21:30:28


                                                                             FORM B6G
                                                                             (10/89)
                                                                                        HECTOR MATTHEWS
                                                                               In re                                                                    Case No.
                                                                                                             Debtor                                                        (if known)


                                                                                        SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
                                                                                Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any
                                                                             timeshare interests.

                                                                                State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or
                                                                             lessee of a lease.

                                                                               Provide the names and complete mailing addresses of all other parties to each lease or contract described.

                                                                               NOTE: A party listed on this schedule will not receive notice of the filing of this case unless the party is also
                                                                             scheduled in the appropriate schedule of creditors.

                                                                                  Check this box if debtor has no executory contracts or unexpired leases.

                                                                                                                                                 DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
                                                                                        NAME AND MAILING ADDRESS, INCLUDING ZIP CODE              DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
                                                                                           OF OTHER PARTIES TO LEASE OR CONTRACT                  NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                                                                                      NUMBER OF ANY GOVERNMENT CONTRACT
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358
                                                                                            Case 1-05-33052-cec          Doc 1     Filed 10/14/05       Entered 10/14/05 21:30:28


                                                                             FORM B6H
                                                                             (6/90)
                                                                                        HECTOR MATTHEWS
                                                                               In re                                                                    Case No.
                                                                                                          Debtor                                                          (if known)



                                                                                                                   SCHEDULE H - CODEBTORS
                                                                                Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also
                                                                             liable on any debts listed by debtor in the schedules of creditors. Include all guarantors and co-signers. In community
                                                                             property states, a married debtor not filing a joint case should report the name and address of the nondebtor spouse
                                                                             on this schedule. Include all names used by the nondebtor spouse during the six years immediately preceding the
                                                                             commencement of this case.

                                                                                  Check this box if debtor has no codebtors.


                                                                                       NAME AND ADDRESS OF CODEBTOR                               NAME AND ADDRESS OF CREDITOR
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358
                                                                                              Case 1-05-33052-cec                 Doc 1        Filed 10/14/05           Entered 10/14/05 21:30:28


                                                                             Form B6I
                                                                             12/03


                                                                                        HECTOR MATTHEWS
                                                                               In re________________________________________________ ,                                           Case No.______________________________
                                                                                                  Debtor                                                                                   (if known)

                                                                                                  SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
                                                                             The column labeled "Spouse" must be completed in all cases filed by joint debtors and by a married debtor in a chapter 12 or 13 case whether or not
                                                                             a joint petition is filed, unless the spouses are separated and a joint petition is not filed.

                                                                               Debtor’s Marital                                                  DEPENDENTS OF DEBTOR AND SPOUSE
                                                                               Status:                        RELATIONSHIP                                                                      AGE
                                                                                    Single
                                                                                                                                   No dependents


                                                                               Employment:                             DEBTOR                                                                SPOUSE
                                                                               Occupation                       SELF EMPLOYER (HEALTH AND SAFETY TRAINNING)
                                                                               Name of Employer                 216 WAKEMAN PLACE
                                                                               How long employed                7 YEARS
                                                                               Address of Employer              BROOKLYN, NY 11220                                                              N.A.


                                                                             Income: (Estimate of average monthly income)                                                                  DEBTOR                 SPOUSE
                                                                             Current monthly gross wages, salary, and commissions
                                                                                                                                                                                                   833
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________
                                                                                  (pro rate if not paid monthly.)
                                                                             Estimated monthly overtime                                                                                               0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________

                                                                             SUBTOTAL                                                                                                              833                    N.A.
                                                                                                                                                                                        $ _____________        $ _____________
                                                                                   LESS PAYROLL DEDUCTIONS
                                                                                      a. Payroll taxes and social security                                                                           0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                                $ _____________
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                      b. Insurance                                                                                                   0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                                $ _____________
                                                                                      c. Union Dues                                                                                                  0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                                $ _____________
                                                                                      d. Other (Specify:___________________________________________________________)                                 0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                                $ _____________

                                                                                    SUBTOTAL OF PAYROLL DEDUCTIONS                                                                                   0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________

                                                                             TOTAL NET MONTHLY TAKE HOME PAY                                                                                       833
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________


                                                                             Regular income from operation of business or profession or farm                                                         0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________
                                                                             (attach detailed statement)
                                                                             Income from real property                                                                                               0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________
                                                                             Interest and dividends                                                                                     $ _____________
                                                                                                                                                                                                     0         $ _____________
                                                                                                                                                                                                                          N.A.
                                                                             Alimony, maintenance or support payments payable to the debtor for the
                                                                             debtor’s use or that of dependents listed above.                                                           $ _____________
                                                                                                                                                                                                     0         $ _____________
                                                                                                                                                                                                                          N.A.
                                                                             Social security or other government assistance
                                                                             (Specify) _______________________________________________________________________                          $ _____________
                                                                                                                                                                                                     0         $ _____________
                                                                                                                                                                                                                          N.A.
                                                                             Pension or retirement income                                                                               $ _____________
                                                                                                                                                                                                     0         $ _____________
                                                                                                                                                                                                                          N.A.
                                                                             Other monthly income
                                                                             (Specify) ___________________________________________________________________                                           0
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________
                                                                                        ___________________________________________________________________
                                                                                           GIRL FRIEND SUPPORTS                                                                                  2,000
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                               $ _____________

                                                                             TOTAL MONTHLY INCOME                                                                                                2,833
                                                                                                                                                                                        $ _____________                   N.A.
                                                                                                                                                                                                                $ _____________

                                                                             TOTAL COMBINED MONTHLY INCOME                                   2,833
                                                                                                                                    $ _____________                                     (Report also on Summary of Schedules)

                                                                             Describe any increase or decrease of more than 10% in any of the above categories anticipated to occur within the year following the filing of
                                                                             this document:
                                                                                            Case 1-05-33052-cec          Doc 1      Filed 10/14/05      Entered 10/14/05 21:30:28

                                                                             FORM B6J
                                                                             (6/90)

                                                                                     HECTOR MATTHEWS
                                                                             In re                                                           ,            Case No.
                                                                                                         Debtor                                                                   (If known)


                                                                                     SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTORS
                                                                                Complete this schedule by estimating the average monthly expenses of the debtor and the debtor's family. Pro rate any
                                                                             payments made bi-weekly, quarterly, semi-annually, or annually to show monthly rate.

                                                                                Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate
                                                                             schedule of expenditures labeled "Spouse."

                                                                             Rent or home mortgage payment (include lot rented for mobile home)                                      $           1,500
                                                                             Are real estate taxes included?            Yes             No
                                                                             Is property insurance included?            Yes             No
                                                                             Utilities Electricity and heating fuel                                                                  $                 45
                                                                                         Water and sewer                                                                             $                  0
                                                                                         Telephone                                                                                   $                 80
                                                                                         Other      Cable TV / Internet                                                              $                 45
                                                                             Home maintenance (Repairs and upkeep)                                                                   $                  0
                                                                             Food                                                                                                    $                200
                                                                             Clothing                                                                                                $                 10
                                                                             Laundry and dry cleaning                                                                                $                 30
                                                                             Medical and dental expenses                                                                             $                 50
                                                                             Transportation (not including car payments)                                                             $                 80
                                                                             Recreation, clubs and entertainment, newspapers, magazines, etc.                                        $                 10
                                                                             Charitable contributions                                                                                $                  3
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             Insurance (not deducted from wages or included in home mortgage payments)
                                                                                         Homeowner's or renter's                                                                     $                  0
                                                                                         Life                                                                                        $                  0
                                                                                         Health                                                                                      $                  0
                                                                                         Auto                                                                                        $                255
                                                                                         Other                                                                                       $                  0
                                                                             Taxes (not deducted from wages or included in home mortgage payments)
                                                                             (Specify)                                                                                               $                  0
                                                                             Installment payments (In chapter 12 and 13 cases, do not list payments to be included in the plan)
                                                                                         Auto                                                                                        $                525
                                                                                         Other                                                                                       $                  0
                                                                                         Other                                                                                       $                  0
                                                                             Alimony, maintenance, and support paid to others                                                        $                  0
                                                                             Payments for support of additional dependents not living at your home                                   $                  0
                                                                             Regular expenses from operation of business, profession, or farm (attach detailed statement)            $                  0
                                                                             Other                                                                                                   $                  0

                                                                             TOTAL MONTHLY EXPENSES (Report also on Summary of Schedules)                                            $           2,833

                                                                             (FOR CHAPTER 12 AND 13 DEBTORS ONLY)
                                                                             Provide the information requested below, including whether plan payments are to be made bi-weekly, monthly, annually,
                                                                             or at some other regular interval.
                                                                             A. Total projected monthly income                                                               $            N.A.
                                                                             B. Total projected monthly expenses                                                             $            N.A.
                                                                             C. Excess income (A minus B)                                                                    $            N.A.
                                                                             D. Total amount to be paid into plan each                    N.A.                               $            N.A.
                                                                                                                                          (interval)
                                                                                                     Case 1-05-33052-cec                          Doc 1           Filed 10/14/05                  Entered 10/14/05 21:30:28

                                                                             Official Form 6-Cont.
                                                                             (12/03)


                                                                                           HECTOR MATTHEWS
                                                                                  In re                                                                                      ,                           Case No.
                                                                                                                           Debtor                                                                                                     (If known)




                                                                                                      DECLARATION CONCERNING DEBTOR'S SCHEDULES

                                                                                                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

                                                                                  I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                                  23
                                                                             sheets and that they are true and correct to the best of my knowledge, information and belief.                                   (Total shown on summary page plus 1)


                                                                             Date
                                                                                    OCTOBER 14, 2005                                                                 Signature
                                                                                                                                                                                      /s/ HECTOR MATTHEWS
                                                                                                                                                                                                                 Debtor

                                                                                                                                                                                                              Not Applicable
                                                                             Date                                                                                    Signature
                                                                                                                                                                                                         (Joint Debtor, if any)
                                                                                                                                                                     [If joint case, both spouses must sign]




                                                                             -------------------------------------------------------------------------
                                                                                                        CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for compensation, and that I have provided the
                                                                             debtor with a copy of this document.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                     Social Security No.
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                                                                                                       (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                               Date


                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both. 11 U.S.C. §
                                                                             110; 18 U.S.C. §156.
                                                                             -------------------------------------------------------------------------
                                                                                                   Case 1-05-33052-cec                   Doc 1      Filed 10/14/05             Entered 10/14/05 21:30:28
                                                                             Form B8 (Official Form 8)
                                                                             (12/03)
                                                                                                          Form 8. INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                                                                 UNITED STATES BANKRUPTCY COURT
                                                                                                                                  EASTERN DISTRICT OF NEW YORK



                                                                             In re      HECTOR MATTHEWS                                              ,              Case No.
                                                                                                                                Debtor
                                                                                                                                                                    Chapter        Chapter 7

                                                                                                          CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                                                     1. I have filed a schedule of assets and liabilities which includes consumer debts secured by property of the estate.

                                                                                     2. I intend to do the following with respect to the property of the estate which secures those consumer debts:

                                                                                           a. Property to Be Surrendered.
                                                                                           Description of Property                                               Creditor's name
                                                                             NONE




                                                                                           b. Property to Be Retained.                                                [Check any applicable statement.]

                                                                                                                                                                                                                          Property will
                                                                                                                                                                                   Property will     Debt will be         be retained,
                                                                             Description                                                                            Property       be redeemed       reaffirmed           original debt
                                                                             of                                             Creditor's                              is claimed     pursuant to       pursuant to          will be kept
                                                                             Property                                       name                                    as exempt      11 U.S.C. § 722   11 U.S.C. § 524(c)   current

                                                                             2001 Chrysler PT Cruiser Sp...                 SOVEREIGN BANK
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             Date:       OCTOBER 14, 2005                                  /s/ HECTOR MATTHEWS
                                                                                                                                           Signature of Debtor            HECTOR MATTHEWS


                                                                             -------------------------------------------------------------------------
                                                                                                    CERTIFICATION OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for
                                                                             compensation, and that I have provided the debtor with a copy of this document.

                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                  Social Security No.
                                                                                                                                                                    (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security Numbers of all other individuals who prepared or assisted in preparing this document.

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form
                                                                             for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                           Date

                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy
                                                                             Procedure may result in fines or imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. §156.
                                                                                                 Case 1-05-33052-cec                   Doc 1        Filed 10/14/05             Entered 10/14/05 21:30:28


                                                                             B203
                                                                             12/94
                                                                                                                      United States Bankruptcy Court
                                                                                                                               EASTERN DISTRICT OF NEW YORK
                                                                                     In re HECTOR MATTHEWS                                                                 Case No. ____________________
                                                                                                                                                                           Chapter           7
                                                                                                                                                                                        ____________________
                                                                                     Debtor(s)
                                                                                                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR

                                                                             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s)
                                                                                     and that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services
                                                                                     rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follow s:

                                                                                                                                                                                      910
                                                                                     For legal services, I have agreed to accept .............................……………………….... $ ______________
                                                                                                                                                                                          910
                                                                                     Prior to the filing of this statement I have received ..........…………………................... $ ______________

                                                                                                                                                                                        0
                                                                                     Balance Due ......................................……………………………………….................... $ ______________

                                                                             2.      The source of compensation paid to me was:

                                                                                                      Debtor                  Other (specify)   None
                                                                             3.      The source of compensation to be paid to me is:
                                                                                                      Debtor                  Other (specify)

                                                                             4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and
                                                                             associates of my law firm.

                                                                                        I have agreed to share the above-disclosed compensation with a other person or persons who are not members or associates
                                                                             of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the compensation, is attached.

                                                                             5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
                                                                                      a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
                                                                                      b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                      c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;




                                                                              6.       By agreement with the debtor(s), the above-disclosed fee does not include the following services:
                                                                              All other services not mentioned in the above paragraph 5.




                                                                                                                                                     CERTIFICATION

                                                                                             I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the
                                                                                          debtor(s) in the bankruptcy proceeding.


                                                                                             OCTOBER 14, 2005
                                                                                          ____________________________________                                /s/ Jeffrey B. Peltz
                                                                                                                                                            __________________________________________________
                                                                                                         Date                                                                  Signature of Attorney

                                                                                                                                                              Jeffrey B. Peltz, PC
                                                                                                                                                            __________________________________________________
                                                                                                                                                                                Name of law firm
                                                                                       Case 1-05-33052-cec                    Doc 1     Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                             Form 7
                                                                             (12/03)                         FORM 7. STATEMENT OF FINANCIAL AFFAIRS
                                                                                                             UNITED STATES BANKRUPTCY COURT
                                                                                                                     EASTERN DISTRICT OF NEW YORK



                                                                             In Re   HECTOR MATTHEWS                                              Case No.
                                                                                                    (Name)                                                                        (if known)
                                                                                                                     Debtor

                                                                                                                   STATEMENT OF FINANCIAL AFFAIRS
                                                                                      This statement is to be completed by every debtor. Spouses filing a joint petition may file a single statement on
                                                                             which the information for both spouses is combined. If the case is filed under chapter 12 or chapter 13, a married debtor
                                                                             must furnish information for both spouses whether or not a joint petition is filed, unless the spouses are separated and a
                                                                             joint petition is not filed. An individual debtor engaged in business as a sole proprietor, partner, family farmer, or
                                                                             self-employed professional, should provide the information requested on this statement concerning all such activities as
                                                                             well as the individual's personal affairs.

                                                                                     Questions 1 - 18 are to be completed by all debtors. Debtors that are or have been in business, as defined below,
                                                                             also must complete Questions 19 - 25. If the answer to an applicable question is "None," mark the box labeled "None." If
                                                                             additional space is needed for the answer to any question, use and attach a separate sheet properly identified with the case
                                                                             name, case number (if known), and the number of the question.


                                                                                                                                 DEFINITIONS
                                                                                  "In business." A debtor is "in business" for the purpose of this form if the debtor is a corporation or partnership. An
                                                                             individual debtor is "in business" for the purpose of this form if the debtor is or has been, within the six years immediately
                                                                             preceding the filing of this bankruptcy case, any of the following: an officer, director, managing executive, or owner of 5
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             percent or more of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership;
                                                                             a sole proprietor or self-employed.

                                                                                  "Insider." The term "insider" includes but is not limited to: relatives of the debtor; general partners of the debtor and
                                                                             their relatives; corporations of which the debtor is an officer, director, or person in control; officers, directors, and any
                                                                             owner of 5 percent or more of the voting or equity securities of a corporate debtor and their relatives; affiliates of the
                                                                             debtor and insiders of such affiliates; any managing agent of the debtor. 11 U.S.C. § 101.




                                                                                        1.   Income from employment or operation of business

                                                                             None       State the gross amount of income the debtor has received from employment, trade, or profession, or from
                                                                                        operation of the debtor's business from the beginning of this calendar year to the date this case was commenced.
                                                                                        State also the gross amounts received during the two years immediately preceding this calendar year. (A debtor
                                                                                        that maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report
                                                                                        fiscal year income. Identify the beginning and ending dates of the debtor's fiscal year) If a joint petition is filed,
                                                                                        state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state
                                                                                        income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
                                                                                        petition is not filed.)

                                                                                        AMOUNT                                           SOURCE (if more than one)

                                                                                 2005               8,330      SELF EMPLOYED

                                                                                 2004              13,000      SELF EMPLOYED

                                                                                 2003              12,500      SELF EMPLOYED
                                                                                    Case 1-05-33052-cec                Doc 1       Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                                    2.   Income other than from employment or operation of business

                                                                             None   State the amount of income received by the debtor other than from employment, trade, profession, or operation
                                                                                    of the debtor's business during the two years immediately preceding the commencement of this case. Give
                                                                                    particulars. If a joint petition is filed, state income for each spouse separately. (Married debtors filing under
                                                                                    chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed, unless the
                                                                                    spouses are separated and a joint petition is not filed.)

                                                                                     AMOUNT                                                           SOURCE


                                                                                    3.   Payments to Creditors

                                                                             None   a.     List all payments on loans, installment purchases of goods or services, and other debts, aggregating more
                                                                                    than $600 to any creditor, made within 90 days immediately preceding the commencement of this case. (Married
                                                                                    debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a
                                                                                    joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                             NAME AND ADDRESS OF CREDITOR                           DATES OF                            AMOUNT          AMOUNT STILL
                                                                                                                                    PAYMENTS                             PAID              OWING


                                                                             None   b.    List all payments made within one year immediately preceding the commencement of this case to or for
                                                                                    the benefit of creditors, who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must
                                                                                    include payments by either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                    separated and a joint petition is not filed.)


                                                                             NAME AND ADDRESS OF CREDITOR                           DATES OF                     AMOUNT PAID          AMOUNT STILL
                                                                              AND RELATIONSHIP TO DEBTOR                            PAYMENTS                                             OWING
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                    4. Suits and administrative proceedings, executions, garnishments and attachments

                                                                             None   a.      List all suits and administrative proceedings to which the debtor is or was a party within one year
                                                                                    immediately preceding the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13
                                                                                    must include information concerning either or both spouses whether or not a joint petition is filed, unless the
                                                                                    spouses are separated and a joint petition is not filed.)


                                                                              CAPTION OF SUIT             NATURE OF PROCEEDING                         COURT OR                            STATUS OR
                                                                             AND CASE NUMBER                                                      AGENCY AND LOCATION                      DISPOSITION

                                                                             GOLD KEY LEASE,            CAR LOAN DEFICENCY                            CIVIL COURT OF THE               SUMMONS
                                                                             INC.                                                                     CITY OF NEW YORK                 SERVERD
                                                                             VS.                                                                      KINGS COUNTY
                                                                             THE SPORTS
                                                                             SPECTRUM
                                                                             HECTOR R.
                                                                             MATTHEW
                                                                             INDEX # 315867/2003
                                                                                     Case 1-05-33052-cec                  Doc 1       Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                             None     b.      Describe all property that has been attached, garnished or seized under any legal or equitable process
                                                                                      within one year immediately preceding the commencement of this case. (Married debtors filing under chapter
                                                                                      12 or chapter 13 must include information concerning property of either or both spouses whether or not a joint
                                                                                      petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                NAME AND ADDRESS OF                                       DATE OF                                     DESCRIPTION AND
                                                                              PERSON FOR WHOSE BENEFIT                                    SEIZURE                                    VALUE OF PROPERTY
                                                                                PROPERTY WAS SEIZED


                                                                                      5.   Repossessions, foreclosures and returns

                                                                             None     List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in
                                                                                      lieu of foreclosure or returned to the seller, within one year immediately preceding the commencement of this
                                                                                      case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
                                                                                      either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                      is not filed.)


                                                                                 NAME AND                                 DATE OF REPOSESSION,                                        DESCRIPTION AND
                                                                                ADDRESS OF                                 FORECLOSURE SALE,                                         VALUE OF PROPERTY
                                                                             CREDITOR OR SELLER                           TRANSFER OR RETURN


                                                                                      6. Assignments and Receiverships

                                                                             None     a.      Describe any assignment of property for the benefit of creditors made within 120 days immediately
                                                                                      preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                      any assignment by either or both spouses whether or not a joint petition is filed, unless the spouses are separated
                                                                                      and a joint petition is not filed.)
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                     NAME AND                                    DATE OF ASSIGNMENT                                TERMS OF
                                                                                      ADDRESS                                                                                     ASSIGNMENT
                                                                                    OF ASSIGNEE                                                                                  OR SETTLEMENT


                                                                             None     b.      List all property which has been in the hands of a custodian, receiver, or court-appointed official within
                                                                                      one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or
                                                                                      chapter 13 must include information concerning property of either or both spouses whether or not a joint petition
                                                                                      is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                     NAME AND                          NAME AND LOCATION                           DATE OF               DESCRIPTION AND
                                                                                      ADDRESS                          OF COURT CASE TITLE                          ORDER               VALUE OF PROPERTY
                                                                                    OF CUSTODIAN                            & NUMBER
                                                                                    Case 1-05-33052-cec                 Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                                     7.   Gifts

                                                                             None    List all gifts or charitable contributions made within one year immediately preceding the commencement of this
                                                                                     case, except ordinary and usual gifts to family members aggregating less than $200 in value per individual
                                                                                     family member and charitable contributions aggregating less than $100 per recipient. (Married debtors filing
                                                                                     under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
                                                                                     joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                    NAME AND                           RELATIONSHIP                         DATE OF                  DESCRIPTION AND
                                                                                   ADDRESS OF                        TO DEBTOR, IF ANY                        GIFT                    VALUE OF GIFT
                                                                             PERSON OR ORGANIZATION


                                                                                     8.   Losses

                                                                             None    List all losses from fire, theft, other casualty or gambling within one year immediately preceding the
                                                                                     commencement of this case or since the commencement of this case. (Married debtors filing under chapter 12
                                                                                     or chapter 13 must include losses by either or both spouses whether or not a joint petition is filed, unless the
                                                                                     spouses are separated and a joint petition is not filed.)


                                                                                DESCRIPTION                          DESCRIPTION OF CIRCUMSTANCES, AND, IF LOSS                               DATE OF
                                                                                AND VALUE                               WAS COVERED IN WHOLE OR IN PART BY                                     LOSS
                                                                                OF PROPERTY                                 INSURANCE, GIVE PARTICULARS


                                                                                     9.   Payments related to debt counseling or bankruptcy

                                                                             None    List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys,
                                                                                     for consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                     bankruptcy within one year immediately preceding the commencement of this case.


                                                                                      NAME AND ADDRESS                         DATE OF PAYMENT,                             AMOUNT OF MONEY OR
                                                                                          OF PAYEE                             NAME OF PAYOR IF                               DESCRIPTION AND
                                                                                                                              OTHER THAN DEBTOR                              VALUE OF PROPERTY

                                                                             Jeffrey B. Peltz                                                                          THE TOTAL AMOUNT PAID
                                                                             Jeffrey B. Peltz, PC                                                                      INCLUDING COURT FILING
                                                                             26 Court Street, Suite 2707                                                               FEES IS $910
                                                                             Brooklyn, NY 11242

                                                                                     10. Other transfers

                                                                             None    List all other property, other than property transferred in the ordinary course of the business or financial affairs
                                                                                     of the debtor, transferred either absolutely or as security within one year immediately preceding the
                                                                                     commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include transfers by
                                                                                     either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition
                                                                                     is not filed.)


                                                                               NAME AND ADDRESS OF TRANSFEREE,                                   DATE                            DESCRIBE PROPERTY
                                                                                   RELATIONSHIP TO DEBTOR                                                                        TRANSFERRED AND
                                                                                                                                                                                  VALUE RECEIVED
                                                                                      Case 1-05-33052-cec                 Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                                       11. Closed financial accounts

                                                                             None      List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which
                                                                                       were closed, sold, or otherwise transferred within one year immediately preceding the commencement of this
                                                                                       case. Include checking, savings, or other financial accounts, certificates of deposit, or other instruments; shares
                                                                                       and share accounts held in banks, credit unions, pension funds, cooperatives, associations, brokerage houses and
                                                                                       other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information
                                                                                       concerning accounts or instruments held by either or both spouses whether or not a joint petition is filed, unless
                                                                                       the spouses are separated and a joint petition is not filed.)


                                                                                      NAME AND                            TYPE OF ACCOUNT, LAST FOUR                                     AMOUNT AND
                                                                                       ADDRESS                            DIGITS OF ACCOUNT NUMBER,                                      DATE OF SALE
                                                                                    OF INSTITUTION                       AND AMOUNT OF FINAL BALANCE                                      OR CLOSING


                                                                                       12. Safe deposit boxes

                                                                             None      List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other
                                                                                       valuables within one year immediately preceding the commencement of this case.                (Married debtors filing
                                                                                       under chapter 12 or chapter 13 must include boxes or depositories of either or both spouses whether or not a
                                                                                       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)


                                                                                         NAME AND                       NAMES AND ADDRESSES OF                 DESCRIPTION OF              DATE OF
                                                                                      ADDRESS OF BANK                  THOSE WITH ACCESS TO BOX                  CONTENTS                TRANSFER OR
                                                                                    OR OTHER DEPOSITORY                     OR DEPOSITORY                                              SURRENDER, IF ANY


                                                                                       13. Setoffs
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                             None      List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days
                                                                                       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
                                                                                       information concerning either or both spouses whether or not a joint petition is filed, unless the spouses are
                                                                                       separated and a joint petition is not filed.)


                                                                                    NAME AND ADDRESS OF CREDITOR                                 DATE                                 AMOUNT
                                                                                                                                                  OF                                     OF
                                                                                                                                                SETOFF                                 SETOFF

                                                                                       14. Property held for another person

                                                                             None      List all property owned by another person that the debtor holds or controls.


                                                                                        NAME AND                               DESCRIPTION AND                            LOCATION OF PROPERTY
                                                                                     ADDRESS OF OWNER                         VALUE OF PROPERTY


                                                                                       15. Prior address of debtor
                                                                             None
                                                                                       If the debtor has moved within the two years immediately preceding the commencement of this case, list all
                                                                                       premises which the debtor occupied during that period and vacated prior to the commencement of this case. If a
                                                                                       joint petition is filed, report also any separate address of either spouse.


                                                                                     ADDRESS                                          NAME USED                                   DATES OF OCCUPANCY
                                                                                     Case 1-05-33052-cec                Doc 1       Filed 10/14/05           Entered 10/14/05 21:30:28




                                                                                     16. Spouses and Former Spouses
                                                                             None
                                                                                     If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska,
                                                                                     Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin)
                                                                                     within the six-year period immediately preceding the commencement of the case, identify the name of the
                                                                                     debtor’s spouse and of any former spouse who resides or resided with the debtor in the community property state.


                                                                                                 NAME


                                                                                     17. Environmental Sites

                                                                                     For the purpose of this question, the following definitions apply:

                                                                                     "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination,
                                                                                     releases of hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater,
                                                                                     or other medium, including, but not limited to, statutes or regulations regulating the cleanup of these substances,
                                                                                     wastes, or material.

                                                                                               "Site" means any location, facility, or property as defined under any Environmental Law, whether or
                                                                                               not presently or formerly owned or operated by the debtor, including, but not limited to, disposal sites.

                                                                                               "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic
                                                                                               substance, hazardous material, pollutant, or contaminant or similar term under an Environmental Law


                                                                             None
                                                                                     a. List the name and address of every site for which the debtor has received notice in writing by a governmental
                                                                                     unit that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the
                                                                                     governmental unit, the date of the notice, and, if known, the Environmental Law:
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                     SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                    AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                     b. List the name and address of every site for which the debtor provided notice to a governmental unit of a
                                                                                     release of Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.
                                                                             None

                                                                                     SITE NAME                      NAME AND ADDRESS                         DATE OF                 ENVIRONMENTAL
                                                                                    AND ADDRESS                   OF GOVERNMENTAL UNIT                        NOTICE                      LAW


                                                                                     c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law
                                                                                     with respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is
                                                                             None    or was a party to the proceeding, and the docket number.


                                                                                      NAME AND ADDRESS                             DOCKET NUMBER                            STATUS OR DISPOSITION
                                                                                    OF GOVERNMENTAL UNIT
                                                                                      Case 1-05-33052-cec                Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                                      18. Nature, location and name of business

                                                                             None     a.      If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the
                                                                                      businesses, and beginning and ending dates of all businesses in which the debtor was an officer, director,
                                                                                      partner, or managing executive of a corporation, partnership, sole proprietorship, or was a self-employed
                                                                                      professional within the six years immediately preceding the commencement of this case, or in which the debtor
                                                                                      owned 5 percent or more of the voting or equity securities within the six years immediately preceding the
                                                                                      commencement of this case.

                                                                                                        If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature
                                                                                                of the businesses, and beginning and ending dates of all businesses in which the debtor was a partner
                                                                                                or owned 5 percent or more of the voting or equity securities, within the six years immediately
                                                                                                preceding the commencement of this case.

                                                                                                      If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of
                                                                                                the businesses, and beginning and ending dates of all businesses in which the debtor was a partner or
                                                                                                owned 5 percent or more of the voting or equity securities within the six years immediately preceding
                                                                                                the commencement of this case.

                                                                               NAME                     TAXPAYER                   ADDRESS                  NATURE OF BUSINESS BEGINNING AND
                                                                                                       I.D. NO. (EIN)                                                          ENDING DATES

                                                                             THE SPORT                  XXX-XX-XXXX            216 WAKEMAN PLACE                 HEALTH AND                  MAY 1998 TO
                                                                             SPECTRUM                                          BROOKLYN, NY 11220                SAFETY                      PRESENT
                                                                                                                                                                 TRAINNING


                                                                                      b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in
                                                                                      11 U.S.C. § 101.
                                                                             None
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                       NAME                                                                            ADDRESS


                                                                                    N/A




                                                                                      The following questions are to be completed by every debtor that is a corporation or partnership and by any
                                                                             individual debtor who is or has been, within the six years immediately preceding the commencement of this case, any of
                                                                             the following: an officer, director, managing executive, or owner of more than 5 percent of the voting or equity securities
                                                                             of a corporation; a partner, other than a limited partner, of a partnership; a sole proprietor or otherwise self-employed.

                                                                                     (An individual or joint debtor should complete this portion of the statement only if the debtor is or has been in
                                                                             business, as defined above, within the six years immediately preceding the commencement of this case. A debtor who has
                                                                             not been in business within those six years should go directly to the signature page.)




                                                                                      19. Books, record and financial statements

                                                                             None     a.    List all bookkeepers and accountants who within the six years immediately preceding the filing of this
                                                                                      bankruptcy case kept or supervised the keeping of books of account and records of the debtor.


                                                                              NAME AND ADDRESS                                                             DATES SERVICES RENDERED


                                                                             HECTOR MATTHEWS
                                                                             216 WAKEMAN PLACE
                                                                             BROOKLYN, NY 11220
                                                                                      Case 1-05-33052-cec                 Doc 1       Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                             None     b.    List all firms or individuals who within the two years immediately preceding the filing of this bankruptcy
                                                                                      case have audited the books of account and records, or prepared a financial statement of the debtor.


                                                                                      NAME                                              ADDRESS                            DATES SERVICES RENDERED


                                                                             N/A


                                                                             None     c.    List all firms or individuals who at the time of the commencement of this case were in possession of the
                                                                                      books of account and records of the debtor. If any of the books of account and records are not available, explain.


                                                                                      NAME                                                 ADDRESS


                                                                             HECTOR MATTHEWS                                        216 WAKEMAN PLACE
                                                                                                                                    BROOKLYN, NY 11220

                                                                             None     d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
                                                                                      financial statement was issued within the two years immediately preceding the commencement of this case by
                                                                                      the debtor.


                                                                                NAME AND ADDRESS                                                        DATE
                                                                                                                                                       ISSUED

                                                                                    N/A
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                      20. Inventories

                                                                             None     a.    List the dates of the last two inventories taken of your property, the name of the person who supervised the
                                                                                      taking of each inventory, and the dollar amount and basis of each inventory.


                                                                                DATE OF INVENTORY                      INVENTORY SUPERVISOR                      DOLLAR AMOUNT OF INVENTORY
                                                                                                                                                                  (Specify cost, market or other basis)

                                                                                    N/A


                                                                             None     b.     List the name and address of the person having possession of the records of each of the two inventories
                                                                                      reported in a., above.


                                                                                     DATE OF INVENTORY                                              NAME AND ADDRESSES OF CUSTODIAN OF
                                                                                                                                                           INVENTORY RECORDS

                                                                                      N/A
                                                                                      21. Current Partners, Officers, Directors and Shareholders

                                                                             None     a.    If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.


                                                                                     NAME AND ADDRESS                      NATURE OF INTEREST                            PERCENTAGE OF INTEREST


                                                                                    N/A
                                                                                      Case 1-05-33052-cec                  Doc 1        Filed 10/14/05            Entered 10/14/05 21:30:28




                                                                             None      b.     If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who
                                                                                       directly or indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.


                                                                                      NAME AND ADDRESS                                  TITLE                           NATURE AND PERCENTAGE OF
                                                                                                                                                                            STOCK OWNERSHIP

                                                                                    N/A


                                                                                       22. Former partners, officers, directors and shareholders

                                                                             None      a.    If the debtor is a partnership, list each member who withdrew from the partnership within one year
                                                                                       immediately preceding the commencement of this case.


                                                                                             NAME                                      ADDRESS                              DATE OF WITHDRAWAL


                                                                                    N/A


                                                                             None      b.      If the debtor is a corporation, list all officers, and directors whose relationship with the corporation
                                                                                       terminated within one year immediately preceding the commencement of this case.


                                                                                    NAME AND ADDRESS                                          TITLE                         DATE OF TERMINATION


                                                                             N/A
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                       23.   Withdrawals from a partnership or distribution by a corporation

                                                                             None      If the debtor is a partnership or a corporation, list all withdrawals or distributions credited or given to an insider,
                                                                                       including compensation in any form, bonuses, loans, stock redemptions, options exercised and any other
                                                                                       perquisite during one year immediately preceding the commencement of this case.


                                                                                      NAME & ADDRESS OF                            DATE AND PURPOSE                           AMOUNT OF MONEY OR
                                                                                    RECIPIENT, RELATIONSHIP                         OF WITHDRAWAL                               DESCRIPTION AND
                                                                                           TO DEBTOR                                                                           VALUE OF PROPERTY

                                                                                    N/A


                                                                                       24.   Tax Consolidation Group

                                                                             None      If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation
                                                                                       of any consolidated group for tax purposes of which the debtor has been a member at any time within the
                                                                                       six-year period immediately preceding the commencement of the case.


                                                                                      NAME OF PARENT CORPORATION                                   TAXPAYER IDENTIFICATION NUMBER (EIN)


                                                                             N/A
                                                                                                     Case 1-05-33052-cec                            Doc 1           Filed 10/14/05                Entered 10/14/05 21:30:28




                                                                                                      25.    Pension Funds

                                                                                         None         If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to
                                                                                                      which the debtor, as an employer, has been responsible for contributing at any time within the six-year period
                                                                                                      immediately preceding the commencement of the case.


                                                                                                            NAME OF PENSION FUND                                            TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                                         N/A



                                                                                                                                                *    *     *    *     *     *


                                                                                         [If completed by an individual or individual and spouse]

                                                                                         I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
                                                                                         attachments thereto and that they are true and correct.
                                                                                         OCTOBER 14, 2005                                                                          /s/ HECTOR MATTHEWS
                                                                             Date                                                                        Signature
                                                                                                                                                         of Debtor                 HECTOR MATTHEWS




                                                                             -------------------------------------------------------------------------
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                                  CERTIFICATION AND SIGNATURE OF NON-ATTORNEY BANKRUPTCY PETITION PREPARER (See 11 U.S.C. § 110)
                                                                                I certify that I am a bankruptcy petition preparer as defined in 11 U.S.C.§110, that I prepared this document for compensation, and that I have
                                                                             provided the debtor with a copy of this document.


                                                                             Printed or Typed Name of Bankruptcy Petition Preparer                                                     Social Security No.
                                                                                                                                                                                       (Required by 11 U.S.C. § 110(c).)



                                                                             Address
                                                                             Names and Social Security numbers of all other individuals who prepared or assisted in preparing this document:

                                                                             If more than one person prepared this document, attach additional signed sheets conforming to the appropriate Official Form for each person.

                                                                             X
                                                                             Signature of Bankruptcy Petition Preparer                                                                               Date


                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11 and the Federal Rules of Bankruptcy Procedure may result in fines or imprisonment or both.
                                                                             11 U.S.C. § 110; 18 U.S.C. §156.
                                                                             -------------------------------------------------------------------------




                                                                                                                                                  0 continuation sheets attached
                                                                                                                                                _____


                                                                                                Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §152 and 3571
Case 1-05-33052-cec   Doc 1   Filed 10/14/05   Entered 10/14/05 21:30:28




      ALLEN & ROSENTHAL
      111 LIVINGSTON STREET 11TH FLOOR
      BROOKLYN, NY 11201


      AMERICAN EXPRESS
      C/O BECKETT AND LEE LLP
      PO BOX 3024
      MALVERN, PA 19355-0701


      AMERICAN EXPRESS
      PO BOX 360002
      FT LAUDERDALE FL 33336-0002


      AMERICAN EXPRESS
      PO BOX 360002
      FT LAUDERDALE FL 33336-0002


      ARROW FINANCIAL SERVICES
      PO BOX 469005
      CHICAGO IL 60646-9005


      AT&T WIRELESS
      16331 NE 72ND WAY
      REDMOND, WA 98052


      BANK OF AMERICA
      PO BOX 45224
      JACKSONVILLE, FL 32232-5224


      CAPITAL ACQUISITIONS & MANAGEMENT
      COMPANY
      PO BOX 5087
      ROCKFORD IL 61125-0087


      CAPITAL ONE
      (BANKRUPTCY DEPARTMENT)
      PO BOX 85167
      RICHMOND, VIRGINIA 23285-5167


      CHASE
      PO BOX 15583
      WILMINGTON, DE 19886-1194
Case 1-05-33052-cec   Doc 1   Filed 10/14/05   Entered 10/14/05 21:30:28




      CITIBANK
      PO BOX 790114
      ST LOUS, MO 63179-0114


      COLLECTECH SYSTEMS INC.
      CONSUMER SERVICE DEPARTMENT
      PO BOX 4157
      WOODLAND HILLS CA 91365


      COLONIAL CREDIT, LLC
      207 QUAKER LANE
      WEST WARWICK, RI 02893


      COLORADO CAPITAL INVESTMENTS, INC.
      305 NORTHEAST LOOP 820, STE. 404
      HURST, TX 76053


      COLUMBIA HOUSE
      PO BOX 1114-1400 N.
      FRUITRIDGE AVENUE
      TERRE HAUTE IN 47811


      CREDIGY RECEIVABLES
      3950 JOHNS CREEK CT STE
      SUWANEE, GA 30024


      DIRECT MERCHANTS BANK
      (DELINQUENT ACCOUNT PROCESSING)
      PO BOX 550680
      JACKSONVILLE, FL 32255-4150


      DISCOVER
      PO BOX 15251
      WILMINGTON, DE 19886-5251


      FIRST RESOLUTION INVESTMENT CORP.
      PO BOX 34000
      SEATTLE, WA 98124-1000
      REF # 94769


      GC SERVICES LIMITED PARTNERSHIP
      COLLECTION AGENCY DIVISION
      6330 GULFTON
      HOUSTON, TX 77081
Case 1-05-33052-cec   Doc 1   Filed 10/14/05   Entered 10/14/05 21:30:28




      GOLD KEY LEASE, INC
      580 WHITE PLAINS RD.
      5TH FLOOR
      TARRYTOWN, NY 10591


      HOUSEHOLD
      (BANKRUPTCY DEPARTMENT)
      PO BOX 9055
      BRANDON, FL 33509


      LAW OFFICE OF MITCHELL N. KAY
      PO BOX 9006
      SMITHTOWN NY 11787-9006
      REF # 49015182-11


      LENAHAN LAW OFFICE
      PO BOX 990
      BUFFALO, NY 14207
      REF # 150765


      MACY'S
      PO BOX 8135
      MASON, OH 45040


      MONOGRAM BANK
      (JC PENNEY)
      P.O. BOX 981133
      EL PASO, TX 79998-1133


      MRS ASSOCIATES INC
      3 EXECUTIVE CAMPUS, SUITE 400
      CHERRY HILL NJ 08002
      REF # 4415852


      NATIONAL ASSET MANAGEMENT
      ENTERPRISES, INC
      PO BOX 724747
      ATLANTA, GA 31139


      NCO FINANCIAL SYSTEMS II LLC
      PO BOX 8180, DEPT 07
      PHILADELPHIA, PA 19101-8180
Case 1-05-33052-cec   Doc 1   Filed 10/14/05   Entered 10/14/05 21:30:28




      NEW YORK STATE DEPARTMENT
      OF TAXATION AND FINANCE
      QUEENS DISTRICT OFFICE
      KEW GARDENS, NY 11415


      NORTHLAND GROUP, INC.
      7831 GLENROY RD. SUITE # 350
      EDINA, MN 55439
      REF # F3037361


      NORTHLAND GROUP, INC.
      7831 GLENROY RD. SUITE # 350
      EDINA, MN 55439
      REF # F6479363


      PIONEER CREDIT RECOVERY INC.
      SUITE 29
      2221 NIAGARA FALLS BLVD.
      NIAGARA FALLS NY 14304-5717


      PROVIDIAN
      P.O. BOX 99604
      ARLINGTON TX 76096-9604


      RUBIN & ROTHMAN, LLC
      1787 VETERANS HIGHWAY
      ISLANDIA NY 11749


      SEARS
      COLLECTION DEPARTMENT
      PO BOX 182532
      COLUMBUS, OH 43218-2532


      SOVEREIGN BANK
      P.O. BOX 12646
      READING, PA 19612


      SPRINT PCS
      P.O. BOX 8077
      LONDON, KY 40742


      STATE OF NEW YORK
      OFFICE OF THE ATTORNEY GENERAL
      120 BROADWAY
      NEW YORK, NY 10271
Case 1-05-33052-cec   Doc 1   Filed 10/14/05   Entered 10/14/05 21:30:28




      STEWART & ASSOCIATES, PC.
      PO BOX 723848
      ATLANTA, GA 31139


      SUNRISE CREDIT SERVICES
      2174 JACKSON AVENUE
      SEAFORD NY 11783


      WOLPOFF & ABRAMSON LLP
      TWO IRVINGTON CENTRE
      702 KING FARM BLVD.
      ROCKVILLE, MARYLAND 20850-5775


      WORLDWIDE ASSET MANAGEMENT, LLC
      PO BOX 672047
      MARIETTA GA 30006
                          Case 1-05-33052-cec         Doc 1      Filed 10/14/05          Entered 10/14/05 21:30:28




                                         UNITED STATES BANKRUPTCY COURT
                                          EASTERN DISTRICT OF NEW YORK


  In re      HECTOR MATTHEWS                                      ,
                                                Debtor                         Case No.

                                                                                            7
                                                                               Chapter



                                         VERIFICATION OF LIST OF CREDITORS


            I hereby certify under penalty of perjury that the attached List of Creditors which consists of 5 pages, is true,

  correct and complete to the best of my knowledge.



              OCTOBER 14, 2005                                               /s/ HECTOR MATTHEWS
  Date                                                     Signature
                                                           of Debtor         HECTOR MATTHEWS




     Jeffrey B. Peltz
   Jeffrey B. Peltz, PC
26 Court Street, Suite 2707
   Brooklyn, NY 11242
     (718) 625-0800
     (718) 624-5386
                                                                                               Case 1-05-33052-cec                 Doc 1   Filed 10/14/05         Entered 10/14/05 21:30:28

                                                                              B 201 (11/03)



                                                                                                                UNITED STATES BANKRUPTCY COURT
                                                                                                             NOTICE TO INDIVIDUAL CONSUMER DEBTOR
                                                                                                      The purpose of this notice is to acquaint you with the four chapters of the federal
                                                                                                      Bankruptcy Code under which you may file a bankruptcy petition. The bankruptcy law
                                                                                                      is complicated and not easily described. Therefore, you should seek the advice of an
                                                                                                      attor- ney to learn of your rights and responsibilities under the law should you decide to
                                                                                                      file a petition with the court. Court employees are prohibited from giving you legal advice.


                                                                             Chapter 7: Liquidation ($209 filing fee plus $39 administrative fee plus $15 trustee surcharge)
                                                                                1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.

                                                                               2. Under chapter 7 a trustee takes possession of all your property. You may claim certain of your property as exempt under
                                                                             governing law. The trustee then liquidates the property and uses the proceeds to pay your creditors according to priorities of the
                                                                             Bankruptcy Code.
                                                                                3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have com-
                                                                             mitted certain acts of improper conduct described in the Bankruptcy Code, your discharge may be denied by the court, and the pur-
                                                                             pose for which you filed the bankruptcy petition will be defeated.
                                                                                4. Even if you receive a discharge, there are some debts that are not discharged under the law. Therefore, you may still be respon-
                                                                             sible for such debts as certain taxes and student loans, alimony and support payments, criminal restitution, and debts for death or per-
                                                                             sonal injury caused by driving while intoxicated from alcohol or drugs.
                                                                                5. Under certain circumstances you may keep property that you have purchased subject to valid security interest. Your attorney can
                                                                             explain the options that are available to you.

                                                                             Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($194 filing fee
                                                                             plus $39 administrative fee)
Bankruptcy2005 ©1991-2005, New Hope Software, Inc., ver. 3.9.0-644 - 30358




                                                                                1. Chapter 13 is designed for individuals with regular income who are temporarily unable to pay their debts but would like to pay
                                                                             them in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set
                                                                             forth in the Bankruptcy Code.
                                                                                2. Under chapter 13 you must file a plan with the court to repay your creditors all or part of the money that you owe them, using
                                                                             your future earnings. Usually, the period allowed by the court to repay your debts is three years, but no more than five years. Your
                                                                             plan must be approved by the court before it can take effect.
                                                                               3. Under chapter 13, unlike chapter 7, you may keep all your property, both exempt and non-exempt, as long as you continue to
                                                                             make payments under the plan.
                                                                                4. After completion of payments under your plan, your debts are discharged except alimony and support payments, student loans,
                                                                             certain debts including criminal fines and restitution and debts for death or personal injury caused by driving while intoxicated from
                                                                             alcohol or drugs, and long term secured obligations.

                                                                             Chapter 11: Reorganization ($800 filing fee plus $39 administrative fee)
                                                                                Chapter 11 is designed primarily for the reorganization of a business but is also available to consumer debtors. Its provisions are
                                                                             quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

                                                                             Chapter 12: Family farmer ($200 filing fee plus $39 administrative fee)
                                                                                Chapter 12 is designed to permit family farmers to repay their debts over a period of time from future earnings and is in many ways
                                                                             similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily from a
                                                                             family-owned farm.
                                                                             I, the debtor, affirm that I have read this notice.

                                                                               OCTOBER 14, 2005                      /s/ HECTOR MATTHEWS
                                                                                    Date                                           Signature of Debtor                                           Case Number

                                                                                                          WHITE-DEBTOR COPY                                         PINK-COURT COPY
      Case 1-05-33052-cec   Doc 1   Filed 10/14/05      Entered 10/14/05 21:30:28



                    UNITED STATES BANKRUPTCY COURT
                         EASTERN DISTRICT OF NEW YORK
    In re:
             HECTOR MATTHEWS                  Case No. 1-04-24534-jf
                                              Chapter 7



                                Debtor(s)


                    STATEMENT PURSUANT TO LOCAL RULE 2017-1

Jeffrey B. Peltz, an attorney duly admitted to practice in
this court, states:

1.   That I am attorney with the law firm of Jeffrey B.
Peltz P.C., the law firm representing the above said
debtor(s).
2.   That prior to the filing of the petition herein, our
law firm rendered the following services to the above named
debtor(s).

             DATE                   SERVICE                            TIME

                                     Initial interview                 2 Hours
                                    analyses of financial
OCTOBER 14, 2005                         Condition, etc.
                                    Orientation regarding
                                    Chapter 7 Bankruptcy

OCTOBER 14, 2005                    Preparation of papers              3 Hours


10/14/05               Second interview to                 1 Hour
                                 review papers

.            The law firm will represent the debtor(s) at the 341
             hearing.
.            That my usual rate of compensation on bankruptcy
             matters is on per service basis, not an hourly basis.

Date 10/14/05                               /s/ Jeffrey B. Peltz
                                            Jeffrey B. Peltz, Esq.
                                            Attorney for debtor(s)
  Case 1-05-33052-cec       Doc 1     Filed 10/14/05       Entered 10/14/05 21:30:28




                UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF NEW YORK
In re:
         HECTOR MATTHEWS                       Case No.
                                               Chapter 7



                                  Debtor(s)


                           INSERT NAME OF FORM HERE

www.nyeb.uscourts.gov


                               STATEMENT PURSUANT TO LOCAL
                                 BANKRUPTCY RULE 1073-2(b)


DEBTOR(S):HECTOR MATTHEWS

           CASE NO.: ______________

       Pursuant to Local Bankruptcy Rule 1073-2(b), the debtor (or any other
petitioner) hereby makes the following disclosure concerning Related Cases, to the
petitioner's best knowledge, information and belief:

[NOTE: Cases shall be deemed "Related Cases" for purposes of E.D.N.Y. LBR
1073-2 if the earlier cases was pending at any time within six years before the filing
of the new petition, and the debtors in such cases: (i) are the same; (ii) are spouses
or ex-spouses; (iii) are affiliates, as defined in 11 U.S.C. S 101(2); (iv) are general
partners in the same partnership; (v) are a partnership and one or more of its
general partners; (vi) are partnerships which share one or more common general
partners; or (vii) have, or within 180 days of the commencement of either of the
Related Cases had, an interest in property that was or is included in the property of
another estate under 11 U.S.C. S 541(a).]

_X__ NO RELATED CASE IS PENDING OR HAS BEEN PENDING AT ANY
    TIME.

____ THE FOLLOWING RELATED CASE(S) IS PENDING OR HAS BEEN
     PENDING:

    1. Case No.: ______________ Judge: ______________ Dis./Div.:___________

Case Still Pending (Y/N): ______ (If closed) Date of Closing: __________________

CURRENT STATUS OF RELATED CASE: _________________________________
                                Discarged/awaiting discharge,
  Case 1-05-33052-cec      Doc 1    Filed 10/14/05   Entered 10/14/05 21:30:28



                                             Confirmed, dismissed, etc.

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE
above):_________________________________________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" (REAL
PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE "A" OF RELATED
CASE;__________________________________________________________________
______________________________________________________________________
________________________________________________________________________

   2. Case No.:_______________ Judge:_____________ Dis./Div.:__________

Case Still Pending (Y/N):_____ (If closed) Date of Closing: _________________

CURRENT STATUS OF RELATED CASE:_________________________________
                               (Discharged/awaiting discharge,
                               Confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE
above):_________________________________________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL
PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE "A" OF RELATED
CASE:_________________________________________________________________


   3. Case No.:_____________ Judge: ___________ Dist./Div.________________

Case Still Pending(Y/N): ______ [If closed] Date of Closing: ___________________

CURRENT STATUS OF RELATED CASE:_________________________________
                               (Dischrged/awaiting discharge,
                                confirmed, dismissed, etc.)

MANNER IN WHICH CASES ARE RELATED (Refer to NOTE
above):_________________________________________________________________

REAL PROPERTY LISTED IN DEBTOR'S SCHEDULE "A" ("REAL
PROPERTY") WHICH WAS ALSO LISTED IN SCHEDULE "A" OF RELATED
CASE:_________________________________________________________________
________________________________________________________________________
_______________________________________________________________________


NOTE; Pursuant to 11 U.S.C. S 109(G), certain individuals who have had prior
cases dismissed within the preceding 180 days may not be eligible to be debtors.
Such an individual will be required to file a statement in support of his/her
eligibility to file.
  Case 1-05-33052-cec       Doc 1    Filed 10/14/05   Entered 10/14/05 21:30:28




TO BE COMPLETED BY DEBTOR/PETITIONER'S ATTORNEY, AS
APPLICABLE:

I am admitted to practice in the Eastern District of New York (Y/N): __YES______

CERTIFICATION (to be signed by pro se debtor/petitioner's attorney, as
applicable):

I certify under penalty of perjury that the within bankruptcy case is not related to
any case now pending or pending at any time, except as indicated elsewhere on this
form.

__/s/ Jeffrey B. Peltz_______             ___________________________________
Signature of Debtor's Attorney              Signature of Pro Se Debtor/Petitioner

                                           ___________________________________
                                            Mailing Address of Debtor/Petitioner

                                           ___________________________________
                                            City, State, Zip Code

                                            ___________________________________
                                             Area Code and Telephone Number

Failure to fully and truthfully provide all information required by the E.D.N.Y.
LBR 1073-2 Statement may be subject the debtor or any other petitioner and their
attorney to appropriate sanctions, including without limitation conversion, the
appointment of a trustee or the dismissal of the case with prejudice.

NOTE: Any change in address must be reported to the Court immediately IN
WRITING. Dismissal of your petition may otherwise result.
